                                               Case Number:24-005672-CI
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Filing # 213575407 E-Filed 12/27/2024 05:08:51 PM


                                                        !"#$%&#'!(')!$#'*)($#*+#$%&###                 #       #
                                                        ,!-$%#.)/!'!01#'!(')!$2#!"#0"/#                #       #
                                                        +*(#3!"&110,#'*)"$42#+1*(!/0#                  #       #
                                                                                                               #
                                                        '0,&#"*56# #           #       #       #       #       #
                                                        /!7!,!*"6# #           #       #       #       #       #
                                                                                                               #
         ,),0"#80(0"*2#
         #
         #     39:;<=;>>2#
         #
         ?@5#
         #
         +!+$%#$%!(/#A0"B2#
         #
         :<C#
         #
         $(0",#)"!*"#11'2#
         #
         :<C#
         #
         &-3&(!0"#!"+*(80$!*"#
         ,*1)$!*",2#!"'52#
         #
         :<C#
         #
         &D)!+0-#!"+*(80$!*"#
         ,&(7!'&,#11'2#
         #
         #     /E>E<C:<=@5#
         FFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFG#
         #
                   !"#$%&'()*+",*-&#&./0*&(-*-/#&(-*+",*12,3*),'&%*
                                                            #
                                             '4*     '(),"-2!)'"(*
         *
               H5!     $I;@#;@#:<#:J=;K<#>KL#;<MN<J=;?E#LE9;E>#:<C#C:O:PE@#;<#EQJE@@#K>#RST2TTT5TT#EQJ9N@;?E#

         K># JK@=@2# ;<=ELE@=2# :<C# :==KL<EUV@# >EE@2# WLKNPI=# WU# 39:;<=;>>2# ,),0"# 80(0"*2# :<# ;<C;?;CN:9#

         JK<@NOEL2#>KL#?;K9:=;K<@#K>#=IE#+9KL;C:#'K<@NOEL#'K99EJ=;K<#3L:J=;JE@#0J=2#+9:5#,=:=5#X#SSY5SS#!"#

         $!%&#Z=IE#[+''30\]2#:<C#?;K9:=;K<@#K>#=IE#(E:9#&@=:=E#,E==9EOE<=#3LKJECNLE@#0J=2#H^#)5,5'5#X#^_TH#

         !"#$!%5#=IE#[(&,30\]2#WU#+!+$%#$%!(/#A0"B#Z[+!+$%#$%!(/\]2#:<C#?;K9:=;K<@#K>#=IE#+:;L#




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  'LEC;=#(E`KL=;<P#0J=2#HS#)5,5'5#X#H_aH#!"#$!%5#Z[+'(0\]2#WU#+!+$%#$%!(/2#$(0",#)"!*"#

  11'#Z[$(0",#)"!*"\]2#&-3&(!0"#!"+*(80$!*"#,*1)$!*",2#!"'5#Z[&-3&(!0"\]2#

  :<C# &D)!+0-# !"+*(80$!*"# ,&(7!'&,# 11'# Z[&D)!+0-\]5# # +N<C:OE<=:99U2# =I;@# J:@E# ;@#

  :WKN=# +!+$%# $%!(/V@# LE>N@:9# =K# LE@`EJ=# 8@5# 8:L:<KV@# `EL@K<:9# :<C# 9EP:9# L;PI=@# ;<# +!+$%#

  $%!(/V@#@EL?;J;<P#K>#8@5#8:L:<KV@#IKOE#OKL=P:PE#:<C#=IE#/E>E<C:<=@V#LE>N@:9#=K#LE@`EJ=#8@5#

  8:L:<KV@# `EL@K<:9# :<C# 9EP:9# L;PI=@# ;<# =IE;L# >:9@E# LE`KL=;<P# K># 8@5# 8:L:<KV@# `EL@K<:9# :<C# 9EP:9#

  L;PI=@#;<#=IE;L#>:9@E#LE`KL=;<P#K>#8@5#8:L:<KV@#JLEC;=#:<C#>;<:<J;:9#;<>KLO:=;K<5#

          ^5!     [0@#:#LE@N9=#K>#;<JLE:@EC#:WN@E#WU#JK<@NOEL#CEW=#JK99EJ=KL@#:<C#=IE#9:Jb#K>#:<U#

  OE:<;<P>N9#JKOOK<#9:c#=KL=#LEOEC;E@2#;<#=IE#9:=EdHY_T@#:<C#E:L9UdHYeT@2#@=:=E#9EP;@9:=NLE@#WEP:<#

  =K#LEJKP<;fE#=IE#<EEC#>KL#JK<@NOEL#`LK=EJ=;K<#9EP;@9:=;K<#;<#=IE#:LE:#K>#CEW=#JK99EJ=;K<g#+KL#;=@#

  `:L=2# +9KL;C:# E<:J=EC# =IE# +''30# ;<# HYe^# :@# :# OE:<@# K># LEPN9:=;<P# =IE# :J=;?;=;E@# K># JK<@NOEL#

  JK99EJ=;K<#:PE<J;E@#c;=I;<#=IE#@=:=E5\##h:N@E#?5#8EC5#AN@5#'K<@N9=:<=@2#!<J52#i^i#+5#,N``5#jC#HHeS2#

  HHa_#Z85/5#+9:5#^THY]#Z;<=EL<:9#J;=:=;K<@#KO;==EC]5*

          j5!     'K<@NOEL#LE`KL=;<P#:PE<J;E@2#9;bE#$(0",#)"!*"2#&-3&(!0"2#:<C#&D)!+0-2#

  :LE#JI:LPEC#c;=I#O:;<=:;<;<P#LE:@K<:W9E#`LKJECNLE@#=K#E<@NLE#=IE#O:Q;ONO#`K@@;W9E#:JJNL:JU#K>#

  =IE#;<>KLO:=;K<#=IEU#LE`KL=#cI;JI#;@#`LK?;CEC#WU#>NL<;@IEL@2#9;bE#+!+$%#$%!(/2#=K#=IE#JK<@NOEL#

  LE`KL=;<P#:PE<J;E@5*

          i5!     kIE<# :# JK<@NOEL2# 9;bE# 39:;<=;>>2# C;@`N=E@# ;<>KLO:=;K<# =ILKNPI# =IE# JK<@NOEL#

  LE`KL=;<P#:PE<J;E@#=IE#+'(0#CEO:<C@#=I:=#WK=I#=IE#:PE<JU#:<C#=IE#>NL<;@IEL#@E`:L:=E9U#JK<CNJ=#:#

  LE:@K<:W9E# ;<?E@=;P:=;K<# K># =IE# JK<@NOELV@# C;@`N=E# :<C# JKLLEJ=# KL# CE9E=E# ;<>KLO:=;K<# cI;JI# ;@#

  ;<:JJNL:=E#KL#J:<<K=#K=IELc;@E#WE#?EL;>;EC5#

  #

  #




  !                                                    "!
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                                        ''4*       12,'0-'!)'"(#

         S5!     .NL;@C;J=;K<# K># =I;@# 'KNL=# :L;@E@# `NL@N:<=# =K# +9:5# ,=:=5# X# ^_5TH^2# +9:5# ,=:=5# X#

  SSY5eeZH]2#H^#)5,5'5#X#^_Hi2#:<C#HS#)5,5'5#X#H_aH`5##7E<NE#;<#=I;@#'KN<=U#;@#`LK`EL#;<#=I:=#=IE#

  JK<CNJ=#JKO`9:;<EC#K>#KJJNLLEC#IELE5#

                                               '''4*   $&,)'/0*

         _5!     39:;<=;>>2#,),0"#80(0"*2#;@#:#<:=NL:9#`EL@K<2#:<C#J;=;fE<#K>#=IE#,=:=E#K>#+9KL;C:2##

  cIK#:=#:99#=;OE@#`EL=;<E<=#IELE=K#LE@;CEC#;<#$;ELL:#7ELCE2#+1#jjeHS5##39:;<=;>>#;@#:#[JK<@NOEL\#:@#

  CE>;<EC#WU#=IE#+'(02#HS#)5,5'5#X#H_aH:ZJ]#:<C#+''302#+9:5#,=:=5#X#SSY5SSZa]5#

         e5!     /E>E<C:<=2# +!+$%# $%!(/2# ;@# :# W:<b;<P# JKL`KL:=;K<# cIK@E# `L;<J;`:9# :CCLE@@# ;@#

  9KJ:=EC#:=#ja#+KN<=:;<#,lN:LE#39:f:2#';<J;<<:=;2#*%#iS^_j5#

         a5!     +!+$%#$%!(/#;@#:#[>NL<;@IEL#K>#;<>KLO:=;K<\#:@#JK<=EO`9:=EC#WU#=IE#+'(02#HS#

  )5,5'5#X#H_aH@d^Z:]#m#ZW]2#=I:=#LEPN9:L9U#>NL<;@IE@#;<>KLO:=;K<#=K#K<E#KL#OKLE#JK<@NOEL#LE`KL=;<P#

  :PE<J;E@#:WKN=#JK<@NOEL#=L:<@:J=;K<@#KL#EQ`EL;E<JE@#c;=I#JK<@NOEL@5#

         Y5!     /E>E<C:<=2#$(0",#)"!*"2#cIK@E#`L;<J;`:9#:CCLE@@#;@#9KJ:=EC#:=#SSS#kE@=#0C:O@#

  ,=LEE=2#'I;J:PK2#!1#_T__H2#;@#:#[JK<@NOEL#LE`KL=;<P#:PE<JU\#:@#CE>;<EC#WU#=IE#+'(02#HS#)5,5'5#

  X#H_aH:Z>]5##)`K<#;<>KLO:=;K<#:<C#WE9;E>2#$(0",#)"!*"#LEPN9:L9U#E<P:PE@#;<#=IE#WN@;<E@@#K>#

  :@@EOW9;<P2# E?:9N:=;<P2# :<C# C;@WNL@;<P# ;<>KLO:=;K<# JK<JEL<;<P# JK<@NOEL@# >KL# =IE# `NL`K@E@# K>#

  >NL<;@I;<P#JK<@NOEL#LE`KL=@2#:@#CE>;<EC#WU#=IE#+'(02#HS#)5,5'5#X#H_aH:ZC]2#=K#=I;LC#`:L=;E@5*

         HT5!    &-3&(!0"2# cIK@E# `L;<J;`:9# :CCLE@@# ;@# 9KJ:=EC# :=# ieS#0<=K<# AKN9E?:LC2# 'K@=:#

  8E@:2#'0#Y^_^_2#;@#:#[JK<@NOEL#LE`KL=;<P#:PE<JU\#:@#CE>;<EC#WU#=IE#+'(02#HS#)5,5'5#X#H_aH:Z>]5##

  )`K<# ;<>KLO:=;K<# :<C# WE9;E>2# &-3&(!0"# LEPN9:L9U# E<P:PE@# ;<# =IE# WN@;<E@@# K># :@@EOW9;<P2#

  E?:9N:=;<P2# :<C# C;@WNL@;<P# ;<>KLO:=;K<# JK<JEL<;<P# JK<@NOEL@# >KL# =IE# `NL`K@E@# K># >NL<;@I;<P#

  JK<@NOEL#LE`KL=@2#:@#CE>;<EC#WU#=IE#+'(02#HS#)5,5'5#X#H_aH:ZC]2#=K#=I;LC#`:L=;E@5*




  !                                                    #!
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          HH5!    &D)!+0-2#cIK@E#`L;<J;`:9#:CCLE@@#;@#9KJ:=EC#:=#HSST#3E:JI=LEE#,=5#"&2#0=9:<=:2#

  h02# jTjTY2# ;@# :# [JK<@NOEL# LE`KL=;<P# :PE<JU\# :@# CE>;<EC# WU# =IE# +'(02# HS# )5,5'5# X# H_aH:Z>]5##

  )`K<# ;<>KLO:=;K<# :<C# WE9;E>2# &D)!+0-# LEPN9:L9U# E<P:PE@# ;<# =IE# WN@;<E@@# K># :@@EOW9;<P2#

  E?:9N:=;<P2# :<C# C;@WNL@;<P# ;<>KLO:=;K<# JK<JEL<;<P# JK<@NOEL@# >KL# =IE# `NL`K@E@# K># >NL<;@I;<P#

  JK<@NOEL#LE`KL=@2#:@#CE>;<EC#WU#=IE#+'(02#HS#)5,5'5#X#H_aH:ZC]2#=K#=I;LC#`:L=;E@5#

                                        '54*    6&!7.,"2(-*

          H^5!    8@5#8:L:<K#I:C#:<#:99EPEC#CEW=#=K#+!+$%#$%!(/#:L;@;<P#KN=#K>#`EL@K<:92#>:O;9U2#

  KL#IKN@EIK9C#`NL`K@E@5##$IE#:99EPEC#CEW=#;@#:#[JK<@NOEL#CEW=\#:@#CE>;<EC#WU#=IE#+''302#+9:5#,=:=5#

  X#SSY5SSZ_]5#

          Hj5!    ,`EJ;>;J:99U2#8@5#8:L:<K#c:@#=IE#OKL=P:PKL#K>#:#OKL=P:PE#ZAKKb#^HjSa2#3:PE#i^2#

  *5(5# 3;<E99:@# 'KN<=U2# !<@=LNOE<=# ^T^HT^ie^^# n=IE# [8KL=P:PE\o]2# E<JNOWEL;<P# =IE# `LK`EL=U#

  9KJ:=EC#:=#eSH#3;<E99:@#A:Uc:U#,52#p#jTi2#$;ELL:#7ELCE2#+1#jjeHS#Z=IE#[3LK`EL=U\]5###

          Hi5!    $IE# 8KL=P:PE# ;@# :# [>ECEL:99U# LE9:=EC# OKL=P:PE# 9K:<\# :@# CE>;<EC# WU# (&,302# H^#

  )5,5'5#X#^_T^ZH]5###

          HS5!    $IE# 8KL=P:PE# 9;@=EC# =IE# [1E<CEL\# :@# 1&"/),2# 11'# Z[1&"/),\]# :<C# CE>;<EC#

  8*($h0h&#&1&'$(*"!'#(&h!,$(0$!*"#,4,$&8,2#!"'5#Z[8&(,\]#:@#=IE#<KO;<EE#:<C#

  OKL=P:PEE#>KL#1&"/),5#

          H_5!    +!+$%#$%!(/#WEP:<#@EL?;J;<P#=IE#8KL=P:PE2#CEO:<C;<P#:<C#:JJE`=;<P#`:UOE<=@#

  >LKO#=IE#39:;<=;>>5#

          He5!    !<# =IE# @NOOEL# :<C# >:99# K># ^T^^# 8@5# 8:L:<K2# JK<JEL<EC# =I:=# 8@5# 8:L:<K# O;PI=#

  WEP:<# =K# >:99# WEI;<C# K<# 8@5# 8:L:<KV@# OKL=P:PE# `:UOE<=@2# WEP:<# EQ`9KL;<P# IKOE# :@@;@=:<JE#

  `LKPL:O@#c;=I#+!+$%#$%!(/5#




  !                                                  $!
Case 8:25-cv-00232-TPB-TGW                      Document 1-1                Filed 01/28/25              Page 5 of 121 PageID 11




         Ha5!      +!+$%# $%!(/# ;<@=LNJ=EC# 8@5# 8:L:<K# =K# >;99# KN=# :# [8KL=P:PE# 0@@;@=:<JE#

  0``9;J:=;K<\#Z=IE#[0``9;J:=;K<\]5#

         HY5!      AEP;<<;<P#;<#*J=KWEL#^T^^#8@5#8:L:<K#WEP:<#@E<C;<P#+!+$%#$%!(/#=IE#LElN;LEC#

  0``9;J:=;K<#:<C#@N``KL=;<P#CKJNOE<=@5#

         ^T5!      +!+$%#$%!(/#cKN9C#LE`E:=EC9U#J9:;O#=I:=#+!+$%#$%!(/#I:C#<K=#LEJE;?EC#=IE#

  CKJNOE<=@5#

         ^H5!      8@5#8:L:<K#@NWO;==EC#:#^!"#0``9;J:=;K<#C:=EC#"K?EOWEL#^a2#^T^^5###0#=LNE#:<C#

  JKLLEJ=#JK`U#K>#"K?EOWEL#^a2#^T^^2#0``9;J:=;K<#;@#:==:JIEC#IELE=K#:@#&QI;W;=#H5#

         ^^5!      +!+$%#$%!(/#LE@`K<CEC#=K#=IE#"K?EOWEL#^a2#^T^^2#0``9;J:=;K<#?;:#9E==EL#C:=EC#

  /EJEOWEL#Hi2#^T^^5##0#=LNE#:<C#JKLLEJ=#JK`U#K>#=IE#/EJEOWEL#Hi2#^T^^2#9E==EL#;@#:==:JIEC#IELE=K#

  :@#&QI;W;=#^5#

         ^j5!      $IE#/EJEOWEL#Hi2#^T^^2#9E==EL#@=:=EC#;<#`:L=#=I:=#[n=oIE#CEJ;@;K<#K<#UKNL#I:LC@I;`#

  :``9;J:=;K<#;@#`E<C;<P#:<C#c;99#WE#JKOON<;J:=EC#=K#UKN#@E`:L:=E9U5\#

         ^i5!      $ILKNPIKN=#/EJEOWEL#^T^^#:<C#.:<N:LU#^T^j#8@5#8:L:<K#WEP:<#JKOON<;J:=;<P#

  c;=I#+!+$%#$%!(/V@#LE`LE@E<=:=;?E2#/E:<<:#kL;PI=2#?;:#EdO:;95#

         ^S5!      8@5# 8:L:<K# LE`E:=EC9U# ;<>KLOEC# 8@5# kL;PI=# =I:=# 8@5# 8:L:<K# c:@# JK<JEL<EC#

  WEJ:N@E#8@5#8:L:<K#bE`=#@NWO;==;<P#CKJNOE<=@#=K#+!+$%#$%!(/#WN=#+!+$%#$%!(/#WEP:<#=K#

  @NPPE@=#=I:=#8@5#8:L:<K#c:@#<K=#;<#:<U#=U`E#K>#>KLWE:L:<JE#KL#K=IEL#OKL=P:PE#:@@;@=:<JE#`LKPL:O5#

         ^_5!      8@5#kL;PI=#LE`E:=EC9U#;<>KLOEC#8@5#8:L:<K#<K=#=K#cKLLU5#

         ^e5!      +KL#EQ:O`9E2#K<#/EJEOWEL#^a2#^T^^2#8@5#8:L:<K#@E<=#8@5#kL;PI=#=IE#>K99Kc;<P#

  OE@@:PE6#

           Hi there I haven't heard back from you and I just got something in the mail that says I am $6256 inarrears and Il'm
           really upset. I really need someone to call me and walk me through what's going on because you told me that I
           would be protected and this bill here is freaking me at 727-539-9472. You told me that you wouldn't respondif  I
           sent you emails and l've sent you quite a few and I haven't heard back.

           Susan Marano                                                                                                          #


  !                                                                %!
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           ^a5!        *<#/EJEOWEL#^Y2#^T^^2#8@5#kL;PI=#LE@`K<CEC#:@#>K99Kc@6#

                  Hello,
                  Please excuse my delayed response as I was out before the holidays and am just returning.
                  Your account has been piaced under protection while it is under review.This ietterof past due notice for january
                  is something that gets automatically sent out because the system just sees the account as no payments coming it
                  No foreclosure will start while you are under review as this places the process on hold. As of today your file is still
                  under review. We will be reaching out as soon as underwriting produces an offer.

                  Thank you for reaching out and I hope you had a great holiday as well. Happy new vear !


                                                                                      Wareis wbereTIan)
                  Deanna Wright                                                        assund4pröteched
                                                                                                        am
                  Homeownier's Assistance Customer Care Speciallet

                                             |                 |             | Cincinnati,                    +wil nôt
                                                                                                             Berepordtr
                           Fifth Third Bank 5001 Kingsley Dr MD 1MOB19                       OH 45227
                                         |
                           855-738-4578 fax: 513-358-8786

                                                                                                             Oudtunin #
           ^Y5!        8@5#kL;PI=#;<@;@=EC#=I:=#8@5#8:L:<K#c:@#[`LK=EJ=EC\#:<C#=I:=#=IE#JKOON<;J:=;K<@#

  :WKN=#WE;<P#WEI;<C#K<#=IE#OKL=P:PE#cELE#<K=I;<P#=K#cKLLU#:WKN=#WEJ:N@E#=IEU#cELE#[:N=KO:=;J:99U#

  @E<=#KN=5\###

           jT5!        8@5# 8:L:<K2# :9@K# JK<JEL<EC# :WKN=# IEL# JLEC;=# WE;<P# :>>EJ=EC2# :@bEC# 8@5# kL;PI=#

  :WKN=#`K@@;W9E#<EP:=;?E#JLEC;=#LE`KL=;<P5#

           jH5!        *<#.:<N:LU#H^2#^T^j2#8@5#kL;PI=#LE@`K<CEC#:WKN=#`K@@;W9E#CELKP:=KLU#LE`KL=;<P2#

  @=:=;<P6#

              Wright, Deanna <Deanna.Wright@53.com>
              Thu 1/12/2023 7:55 AM
              To: susan marano <s.marano@hotmail.com>
              Hello and good morning . My supervisor got back to me on the matter of the credit report Your repert is shewing
              current with disasterprotections. Which means its not reporting delinquency, but it will show a balance I hope
              this answered yourquestion.

              Thank you ,


              Deanna Wright
              Homeowner'sAssistance Customer Care Speclalist
                                                                                                                                            #

           j^5!        *<#.:<N:LU#^T2#^T^j2#8@5#kL;PI=#EdO:;9EC#8@5#8:L:<K#@=:=;<P#=I:=#=IE#CKJNOE<=@#

  <EJE@@:LU#>KL#:@@;@=:<JE#I:C#WEE<#N`9K:CEC#:<C#=I:=#8@5#8:L:<K#cKN9C#LEJE;?E#:#CEJ;@;K<#:>=EL#jT#

  C:U@5#


  !                                                                         &!
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          jj5!      8@5#kL;PI=#@=K``EC#LE@`K<C;<P#=K#8@5#8:L:<K#:>=EL#=I:=5##$LNE#:<C#JKLLEJ=#JK`;E@#

  K># =IE# EdO:;9# JKLLE@`K<CE<JE# WE=cEE<# 8@5# kL;PI=# :<C# 8@5# 8:L:<K# :LE# :==:JIEC# IELE=K# :@#

  JKO`K@;=E#&QI;W;=#j5#

          ji5!      (:=IEL#=I:<#LEJE;?E#:#CEJ;@;K<#:>=EL#jT#C:U@2#8@5#8:L:<K#;<@=E:C#LEJE;?EC#:#9E==EL#

  >LKO#+!+$%#$%!(/#C:=EC#+EWLN:LU#HS2#^T^j2#cI;JI#:P:;<#LElNE@=EC#OKLE#CKJNOE<=@5##0#=LNE#:<C#

  JKLLEJ=#JK`U#K>#=IE#+EWLN:LU#HS2#^T^j2#9E==EL#;@#:==:JIEC#IELE=K#:@#&QI;W;=#i5#

          jS5!      !<# :CC;=;K<# =K# WE;<P# <K=;>;EC# =I:=2# @KOEIKc2# +!+$%# $%!(/# <EECEC# OKLE#

  CKJNOE<=@# =K# :``9U# >KL# :@@;@=:<JE2# 8@5# 8:L:<K# :9@K# >KN<C# KN=# =I:=# +!+$%#$%!(/# I:C# WEPN<#

  LE`KL=;<P#=IE#8KL=P:PE#:@#[YT#C:U@#`:@=#CNE\#;<#.:<N:LU#^T^j5#

          j_5!      0=#=I;@#`K;<=2#8@5#8:L:<K#c:@#=LN9U#cKLL;EC2#:@#8@5#8:L:<K#I:C#WEE<#;<>KLOEC#

  =I:=#8@5#8:L:<K#c:@#[`LK=EJ=EC\#cI;9@=#PK;<P#=ILKNPI#=IE#OKL=P:PE#:@@;@=:<JE#`LKPL:O5#

          je5!      %:C#8@5#8:L:<K#b<Kc<#=I:=#+!+$%#$%!(/#c:@#PK;<P#=K#JK<@;CEL2#:<C#LE`KL=2#=IE#

  8KL=P:PE#:@#CE9;<lNE<=#8@5#8:L:<K#JKN9C#I:?E#:=#9E:@=#:==EO`=EC#=K#`:U#>KL#=IE#9:@=#OK<=I@#K>#

  ^T^^5###

          ja5!      "Kc2#CNE#=K#=IE#LE`KL=;<P#K>#:#CE9;<lNE<=#OKL=P:PE2#8@5#8:L:<K#JKN9C#<K=#@EJNLE#

  :#9K:<#:<C#8@5#8:L:<KV@#K=IEL#JLEC;=KL@#WEP:<#9KcEL;<P#8@5#8:L:<KV@#JLEC;=#9;O;=@5#

             jY5!   +KL# EQ:O`9E2# 8@5# 8:L:<K# LEJE;?EC# :# 9E==ELEC# C:=EC# 8:LJI# ^a2# ^T^j2# >LKO#

  ,4"'%(*"4# A0"B# Z[,4"'%(*"4\]# @=:=;<P# =I:=# 8@5# 8:L:<KV@# JLEC;=# 9;O;=# c;=I#

  ,4"'%(*"4#I:C#WEE<#LECNJEC5##0#=LNE#:<C#JKLLEJ=#JK`U#K>#=IE#8:LJI#^a2#^T^j2#9E==EL#>LKO#

  ,4"'%(*"4#;@#:==:JIEC#IELE=K#:@#&QI;W;=#S5#

          iT5!      +NL=IELOKLE2# cIE<# 8@5# 8:L:<K# :``9;EC# >KL# :# `EL@K<:9# 9K:<# c;=I# 0'%!&70#

  '(&/!$#)"!*"#Z[0'%!&70\]2#=I:=#:``9;J:=;K<#c:@#CE<;EC5##0#=LNE#:<C#JKLLEJ=#JK`U#K>#:#CE<;:9#

  9E==EL#>LKO#0'%!&70#C:=EC#0`L;9#Hi2#^T^j2#;@#:==:JIEC#IELE=K#:@#&QI;W;=#_5#




  !                                                  '!
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          iH5!      +!+$%#$%!(/#:9@K#@E<=#8@5#8:L:<K#:#9E==EL#C:=EC#8:LJI#jH2#^T^j2#:@@EL=;<P#=I:=#

  +!+$%# $%!(/# I:C# [:JJE9EL:=EC\# =IE# 8KL=P:PE2# ;<C;J:=;<P# =I:=# +!+$%# $%!(/# c:@# PK;<P# =K#

  >KLEJ9K@E#K<#8@5#8:L:<KV@#IKOE5##0#=LNE#:<C#JKLLEJ=#JK`U#K>#=IE#8:LJI#jH2#^T^j2#9E==EL#;@#:==:JIEC#

  IELE=K#:@#&QI;W;=#e5#

          i^5!      +!+$%#$%!(/#:99EPE@#=I:=#K<#0`L;9#_2#^T^j2#=IE#8KL=P:PE#c:@#:@@;P<EC#=K#+!+$%#

  $%!(/#WU#OE:<@#K>#:<#[0@@;P<OE<=#K>#8KL=P:PE\#ZAKKb#^^iTT2#3:PE#H^H2#*5(5#3;<E99:@#'KN<=U2#

  !<@=LNOE<=# ^T^jTYTHYT# n=IE# [0@@;P<OE<=\o]5# # 0# =LNE# :<C# JKLLEJ=# JK`U# K># =IE# 0@@;P<OE<=# ;@#

  :==:JIEC#IELE=K#:@#&QI;W;=#a5#

          ij5!      *<#0`L;9# ^i2# ^T^j2# 8@5# 8:L:<K2# =ILKNPI# 8@5# 8:L:<KV@# `LE?;KN@# :==KL<EU2# @E<=#

  +!+$%#$%!(/#:#[<K=;JE#K>#ELLKL\#:<C#[lN:9;>;EC#cL;==E<#LElNE@=\#`NL@N:<=#=K#(&,305##0#=LNE#:<C#

  JKLLEJ=#JK`U#K>#=IE#0`L;9#^i2#^T^j2#<K=;JE#K>#ELLKL#;@#:==:JIEC#IELE=K#:@#&QI;W;=#Y5#

          ii5!      +!+$%#$%!(/#LE@`K<CEC#=K#=IE#<K=;JE#K>#ELLKL#:<C#lN:9;>;EC#cL;==E<#LElNE@=#?;:#

  9E==EL#C:=EC#8:U#Ha2#^T^j5##0#=LNE#:<C#JKLLEJ=#JK`U#K>#=IE#8:U#Ha2#^T^j2#9E==EL#;@#:==:JIEC#IELE=K#

  :@#&QI;W;=#HT5#

          iS5!      +!+$%#$%!(/#>;9EC#:#"K=;JE#K>#1;@#3E<CE<@#;<#=IE#3;<E99:@#'KN<=U#`NW9;J#LEJKLC@#

  K<#8:U#HY2#^T^j5##0#=LNE#:<C#JKLLEJ=#JK`U#K>#"K=;JE#K>#1;@#3E<CE<@#;@#:==:JIEC#IELE=K#:@#&QI;W;=#

  HH5#

          i_5!      %KcE?EL2#;<#.N<E#^T^j2#+!+$%#$%!(/#K>>ELEC#8@5#8:L:<K#:#9K:<#OKC;>;J:=;K<5##

  0#=LNE#:<C#JKLLEJ=#JK`U#K>#=IE#9K:<#OKC;>;J:=;K<#9E==EL#>LKO#+!+$%#$%!(/#C:=EC#.N<E#Y2#^T^j2#;@#

  :==:JIEC#IELE=K#:@#&QI;W;=#H^5#

          ie5!      8@5#8:L:<K#:JJE`=EC#=IE#9K:<#OKC;>;J:=;K<#?;:#9E==EL#C:=EC#.N<E#H_2#^T^j5#0#=LNE#

  :<C# JKLLEJ=# JK`U# K># 8@5# 8:L:<KV@# 9E==EL# :JJE`=;<P# =IE# 9K:<# OKC;>;J:=;K<# ;@# :==:JIEC# IELE=K# :@#

  &QI;W;=#Hj5#




  !                                                   (!
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          ia5!    $ILKNPIKN=# =IE# @NOOEL# K># ^T^j# 8@5# 8:L:<K# O:CE# 8@5# 8:L:<KV@# 9K:<#

  OKC;>;J:=;K<#`:UOE<=@5##

          iY5!    +;<:99U2#+!+$%#$%!(/#@E<=#8@5#8:L:<K#:#9E==EL#C:=EC#"K?EOWEL#Hj2#^T^j2#@=:=;<P#

  =I:=#=IE#9K:<#OKC;>;J:=;K<#I:C#WEE<#JKO`9E=EC5##0#=LNE#:<C#JKLLEJ=#JK`U#K>#=IE#"K?EOWEL#Hj2#^T^j2#

  9E==EL#;@#:==:JIEC#IELE=K#:@#&QI;W;=#Hi5#

          ST5!    +!+$%#$%!(/#@E<=#8@5#8:L:<K#:#@=:=EOE<=#C:=EC#"K?EOWEL#^T2#^T^j2#:@@EL=;<P#

  =I:=#8@5#8:L:<KV@#<KLO:9#OK<=I9U#OKL=P:PE#`:UOE<=#K>#RH2_jY5SY#c:@#CNE#K<#/EJEOWEL#H2#^T^j5##

  0#=LNE#:<C#JKLLEJ=#JK`U#K>#=IE#"K?EOWEL#^T2#^T^j2#@=:=EOE<=#;@#:==:JIEC#IELE=K#:@#&QI;W;=#HS5#

          SH5!    $IE# "K?EOWEL# ^T2# ^T^j2# @=:=EOE<=# LE>9EJ=EC# =I:=# 9K:<# OKC;>;J:=;K<# I:C# PK<E#

  =ILKNPI2#:<C#=I:=#8@5#8:L:<K#c:@#=K#@=:L=#O:b;<P#IEL#<KLO:9#OK<=I9U#`:UOE<=@#:P:;<5#

          S^5!    0#LE9E:@E#K>#=IE#9;@#`E<CE<@#c:@#LEJKLCEC#K<#"K?EOWEL#^H2#^T^j5#

          Sj5!    8@5#8:L:<K#`:;C#=IE#/EJEOWEL#^T^j#OKL=P:PE#`:UOE<=5###

          Si5!    +!+$%#$%!(/#@E<=#8@5#8:L:<K#:#@=:=EOE<=#C:=EC#/EJEOWEL#H2#^T^j2#:@@EL=;<P#

  =I:=#8@5#8:L:<KV@#<KLO:9#OK<=I9U#OKL=P:PE#`:UOE<=#K>#RH2_jY5SY#c:@#CNE#.:<N:LU#H2#^T^i5##0#

  =LNE#:<C#JKLLEJ=#JK`U#K>#=IE#/EJEOWEL#H2#^T^j2#@=:=EOE<=#;@#:==:JIEC#IELE=K#:@#&QI;W;=#H_5#

          SS5!    $IE#/EJEOWEL#H2#^T^j2#@=:=EOE<=#C;C#<K=#;<C;J:=E#:<U#;@@NE@#c;=I#=IE#/EJEOWEL#

  `:UOE<=# cI;JI# 8@5# 8:L:<K# I:C# O:CE# :<C# @;O`9U# LElNE@=EC# =I:=# 8@5# 8:L:<K# `:U# =IE# .:<N:LU#

  ^T^i#OKL=P:PE5#

          S_5!    8@5#8:L:<K#`:;C#=IE#.:<N:LU#^T^i#OKL=P:PE#`:UOE<=5#

          Se5!    &?ELU=I;<P# @EEOEC# =K# WE# W:Jb# K<# =L:Jb# :>=EL# =IE# OKC;>;J:=;K<# N<=;9# 8@5# 8:L:<K#

  LEJE;?EC#>LKO#+!+$%#$%!(/#:#@=:=EOE<=#C:=EC#+EWLN:LU#H2#^T^i5##0#=LNE#:<C#JKLLEJ=#JK`U#K>#=IE#

  +EWLN:LU#H2#^T^i2#@=:=EOE<=#;@#:==:JIEC#IELE=K#:@#&QI;W;=#He5#




  !                                                  )!
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         Sa5!    *N=# K># =IE# W9NE2# K<# =IE# +EWLN:LU# H2# ^T^i2# @=:=EOE<=# +!+$%# $%!(/# WEP:<#

 :==EO`=;<P#=K#JK99EJ=#=IE#>K99Kc;<P#>EE@6#

                     ¥!         [+'1#0$$*("&4#+&&,\#;<#=IE#:OKN<=#K>#RY^T5TTq#

                    ¥!         [/*'#+!1!"h#'*,$\#;<#=IE#:OKN<=#K>#RH2YeT5TTq#:<C#

                          ¥!       [$!$1&#,&0('%\#;<#=IE#:OKN<=#K>#RHHS5TT5#

         SY5!    $IE#=K=:9#:OKN<=#K>#=IE@E#>EE@#;@#>KL#Rj2TTS5TT5#

         _T5!    8@5#8:L:<K#I:C#LEJE;?EC#:#OKC;>;J:=;K<#;<#"K?EOWEL#^T^j5#

         _H5!    AE=cEE<#"K?EOWEL#^T^j#:<C#+EWLN:LU#^T^i#8@5#8:L:<K#O:CE#:99#IEL#`:UOE<=@5##

         _^5!    +!+$%#$%!(/#:==EO`=EC#=K#JI:LPE#8@5#8:L:<K#>EE@#=I:=#+!+$%#$%!(/#@;O`9U#

 I:C#<K#9EP:9#L;PI=#=K#=LU#=K#JK99EJ=5#

         _j5!    +!+$%#$%!(/#E?E<#>;9EC#:#>KLEJ9K@NLE#K<#8@5#8:L:<KV@#IKOE#>KL#8@5#8:L:<KV@#

 :99EPEC#>:;9NLE#=K#`:U#=IE#WKPN@#>EE@5##+!+$%#$%!(/#@EL?EC#:#JK`U#K>#=IE#>KLEJ9K@NLE#JKO`9:;<=#

 K<# 8@5# 8:L:<KV@# EQdWKU>L;E<C# ;<# "Ec# .EL@EU2# J:N@;<P# 8@5# 8:L:<K# EOW:LL:@@OE<=# :<C# OE<=:9#

 :<PN;@I5#

         _i5!    +!+$%# $%!(/# @E<=# 8@5# 8:L:<K# :# 9E==EL# C:=EC# .N9U# H_2# ^T^i2# @=:=;<P# =I:=# 8@5#

 8:L:<K#c:@#CE9;<lNE<=#K<#IEL#:JJKN<=#>KL#>:;9NLE#=K#`:U#=IE#WKPN@#>EE@2#@=:=;<P#=I:=#=IE#>:;9NLE#=K#

 `:U#=IE#>EE@#c:@#[:#@EL;KN@#O:==EL#=I:=#JKN9C#LE@N9=#;<#=IE#9K@@#K>#UKNL#IKOE5\##0#=LNE#:<C#JKLLEJ=#

 JK`U#K>#=IE#.N9U#H_2#^T^i2#9E==EL#;@#:==:JIEC#IELE=K#:@#&QI;W;=#Ha5#

         _S5!    8@5#8:L:<K2#cIK#I:C#9;?EC#>KL#:9OK@=#=cK#Z^]#UE:L@#N<CEL#=IE#=ILE:=#K>#cLK<P>N9#

 >KLEJ9K@NLE2# CEJ;CEC# =K# OK?E# KN=# K># =IE# 3LK`EL=U2# ;<# `:L=2# =K# :?K;C# I:?;<P# =K# CE:9# c;=I# +!+$%#

 $%!(/V@#;99EP:9#`L:J=;JE@5#

         __5!    8@5#8:L:<K#OK?EC#KN=#K>#=IE#3LK`EL=U#;<#0NPN@=#^T^i5#

         _e5!    +!+$%#$%!(/#>;9EC#:#(E9E:@E#K>#8KL=P:PE#K<#0NPN@=#HS2#^T^i5#



 !                                                    *+!
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             _a5!    *<# *J=KWEL# HH2# ^T^j2# 8@5# 8:L:<K# @E<=# C;@`N=E# 9E==EL@# =K# $(0",# )"!*"2#

 &-3&(!0"#:<C#&D)!+0-#C;@`N=;<P#=IE#CE9;<lNE<=#`:UOE<=@#:<C#EQ`9:;<;<P#=I:=#+!+$%#$%!(/#

 I:C#;<>KLOEC#8@5#8:L:<K#=I:=#8@5#8:L:<KV@#:JJKN<=#cKN9C#<K=#WE#LE`KL=EC#:@#9:=E#cI;9E#@IE#c:@#

 ;<#>KLWE:L:<JE5#

             _Y5!    $LNE#:<C#JKLLEJ=#JK`;E@#K>#=IE#C;@`N=E#9E==EL@#=K#$(0",#)"!*"2#&-3&(!0"#:<C#

 &D)!+0-#:LE#:==:JIEC#IELE=K#:@#&QI;W;=@#HY2#^T2#:<C#^H2#LE@`EJ=;?E9U5#

             eT5!    )`K<# ;<>KLO:=;K<# :<C# WE9;E>2# $(0",# )"!*"2# &-3&(!0"# :<C# &D)!+0-#

 <K=;>;EC#=IE#>NL<;@IEL2#+!+$%#$%!(/2#K>#39:;<=;>>V@#C;@`N=E#K>#=IE#:99EPEC#CEW=5#

             eH5!    $(0",# )"!*"2# &-3&(!0"# :<C# &D)!+0-# <E?EL# LE@`K<CEC# =K# =IE# C;@`N=E#

 9E==EL@5#

             e^5!    %KcE?EL2# =IE# ;<:JJNL:=E# LE`KL=;<P# @=;99# EQ;@=@# K<# 8@5# 8:L:<KV@# JNLLE<=# $(0",#

 )"!*"2#&-3&(!0"#:<C#&D)!+0-#JLEC;=#LE`KL=@5#

             ej5!    $IE#LE`KL=;<P#K>#:#CE9;<lNE<JU#=I:=#<E?EL#EQ;@=EC#I:@#@:CC9EC#8@5#8:L:<K#c;=I#:#

 CE9;<lNE<=#:JJKN<=#K<#IEL#LE`KL=@#=I:=#CKE@#<K=#LE>9EJ=#cI:=#:J=N:99U#I:``E<EC2#J:N@;<P#C:O:PE#=K#

 8@5#8:L:<KV@#LE`N=:=;K<#:<C#J:N@;<P#8@5#8:L:<K#cKLLU2#>E:L2#>LN@=L:=;K<#:<C#EOW:LL:@@OE<=5#

             ei5!    0@# CE=:;9EC# :WK?E2# :@# :# LE@N9=# K># =IE# LE`KL=;<P# 8@5# 8:L:<K# I:C# JLEC;=# 9;O;=@#

 CEJLE:@EC#:<C#c:@#CE<;EC#JLEC;=#CNE#=K#=IE#;<:JJNL:=E#LE`KL=;<P5#

        54*         !"2()*'*8*+%",'-&*!"(02#/,*!"%%/!)'"(*$,&!)'!/0*&!)*
                                5'"%&)'"(0*63*+'+)9*)9',-*
 #
             eS5!    39:;<=;>>#;<JKL`KL:=E@#WU#LE>ELE<JE#`:L:PL:`I@#H#=ILKNPI#ei#K>#=I;@#'KO`9:;<=5#

             e_5!    +!+$%#$%!(/2# WU# C;@J9K@;<P# ;<>KLO:=;K<# =K# 8@5# 8:L:<KV@# :99EPEC9U# CE9;<lNE<=#

 OKL=P:PE#=K#8@5#8:L:<KV@#EQdWKU>L;E<C2#C;@J9K@EC#;<>KLO:=;K<#:>>EJ=;<P#8@5#8:L:<KV@#LE`N=:=;K<#

 CE@`;=E#I:?;<P#b<Kc9ECPE#KL#LE:@K<#=K#b<Kc#=I:=#8@5#8:L:<K#C;C#<K=#I:?E#:#9EP;=;O:=E#WN@;<E@@#

 <EEC#>KL#=IE#;<>KLO:=;K<#;<#?;K9:=;K<#K>#+9:5#,=:=5#X#SSY5e^ZS]5#



 !                                                      **!
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          ee5!     +!+$%# $%!(/2# WU# E<P:P;<P# ;<# =IE# CEW=# JK99EJ=;K<# :J=;?;=U# CE@JL;WEC# :WK?E2#

 ;<J9NC;<P2#WN=#<K=#9;O;=EC#=K2#LE`E:=EC9U#O:b;<P#JK<=L:C;J=KLU#@=:=EOE<=@#=K#8@5#8:L:<K#9E:C;<P#

 IEL#=K#WE9;E?E#=I:=#@IE#c:@#[`LK=EJ=EC\#cIE<#;<#>:J=#@IE#c:@#K<#:#WEE#9;<E#=K#:#>KLEJ9K@NLE2#E<P:PEC#

 ;<# JK<CNJ=# cI;JI# +!+$%# $%!(/# JKN9C# LE:@K<:W9U# EQ`EJ=# =K# :WN@E# KL# I:L:@@# 8@5# 8:L:<K# ;<#

 ?;K9:=;K<#K>#+9:5#,=:=5#X#SSY5e^Ze]5#

          ea5!     +!+$%#$%!(/2#WU#:==EO`=;<P#=K#JK99EJ=#=IE#Rj2TTS5TT#;<#[>EE@\2#:<C#WU#=ILE:=E<;<P#

 >KLEJ9K@NLE#cIE<#8@5#8:L:<K#c:@#<K=#WEI;<C#K<#IEL#OKL=P:PE2#J9:;OEC2#:==EO`=EC#:<C#=ILE:=E<EC#

 =K#E<>KLJE#:#CEW=#=I:=#+!+$%#$%!(/#b<Ec#:@#<K=#9EP;=;O:=E2#:<C#J9:;OEC#=IE#EQ;@=E<JE#K>#:#9EP:9#

 L;PI=#=I:=#+!+$%#$%!(/#b<Ec#;=#C;C#<K=#I:?E#;<#?;K9:=;K<#K>#+9:5#,=:=5#X#SSY5e^ZY]5#

          k%&(&+*(&2#39:;<=;>>#LElNE@=@#=I:=#=IE#'KNL=#E<=EL#MNCPOE<=#;<#>:?KL#K>#39:;<=;>>#:<C#

 :P:;<@=#/E>E<C:<=2#+!+$%#$%!(/2#>KL6##

          :5#      0J=N:9#:<C#@=:=N=KLU#C:O:PE@#`NL@N:<=#=K#+9:5#,=:=5#X#SSY5eeq#

          W5#      0==KL<EUV@#>EE@2#9;=;P:=;K<#EQ`E<@E@#:<C#JK@=@#K>#@N;=#`NL@N:<=#=K#+9:5#,=:=5#X#SSY5eeq#

          J5#      !<MN<J=;?E#LE9;E>#`NL@N:<=#=K#+9:5#,=:=5#X#SSY5eeq#:<C#

          C5#      ,NJI#K=IEL#:<C#>NL=IEL#LE9;E>#:@#=IE#'KNL=#CEEO@#`LK`EL5#

                5'4*  !"2()*''*8*+&',*!,/-')*,/$",)'(.*&!)*5'"%&)'"(0*
                                           63*+'+)9*)9',-#
                                                      #
          eY5!     39:;<=;>>#;<JKL`KL:=E@#WU#LE>ELE<JE#`:L:PL:`I@#H#=ILKNPI#ei#K>#=I;@#'KO`9:;<=5#

          aT5!     AU# >:;9;<P# =K# >N99U# :<C# `LK`EL9U# ;<?E@=;P:=E# 39:;<=;>>V@# C;@`N=E2# WU# >:;9;<P# =K#

 :JJNL:=E9U#LE@`K<C#=K#$(0",#)"!*"2#&-3&(!0"2#:<C#&D)!+0-#WU#>:;9;<P#=K#JKLLEJ=9U#LE`KL=#

 =IE#LE@N9=@#K>#=IE#;<?E@=;P:=;K<#=K#$(0",#)"!*"2#&-3&(!0"#:<C#&D)!+0-2#:<C#WU#>:;9;<P#=K#

 `ELO:<E<=9U# :<C# 9:c>N99U# JKLLEJ=# ;=@# Kc<# ;<=EL<:9# LEJKLC@# =K# `LE?E<=# =IE# LEdLE`KL=;<P# K># :<#

 ;<:JJNL:=E#;=EO2#+!+$%#$%!(/#c;99>N99U#:<C#<EP9;PE<=9U#?;K9:=EC#=IE#+'(02#HS#)5,5'5#X#H_aH@d

 ^ZW]5#



 !                                                    *"!
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         k%&(&+*(&2#39:;<=;>>#LElNE@=@#=IE#'KNL=#E<=EL#MNCPOE<=#;<#>:?KL#K>#39:;<=;>>#:<C#:P:;<@=#

 /E>E<C:<=2#+!+$%#$%!(/2#>KL6#

         :5#       0J=N:9#KL#@=:=N=KLU#C:O:PE@#`NL@N:<=#=K#HS#)5,5'5#X#H_aH<#:<C#HS#)5,5'5#H_aHKq##

         W5#       0==KL<EUV@#>EE@2#9;=;P:=;K<#EQ`E<@E@#:<C#JK@=@#`NL@N:<=#=K#HS#)5,5'5#X#H_aH<#:<C#HS#

                   )5,5'5#H_aHKq#:<C#

         J5#       ,NJI#K=IEL#:<C#>NL=IEL#LE9;E>#:@#=IE#'KNL=#CEEO@#`LK`EL5#

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                                       63*),&(0*2('"(*
 *
         aH5!      39:;<=;>>#;<JKL`KL:=E@#WU#LE>ELE<JE#`:L:PL:`I@#H#=ILKNPI#ei#K>#=I;@#'KO`9:;<=5#

         a^5!      AU#>:;9;<P#=K#>K99Kc#LE:@K<:W9E#`LKJECNLE@#=K#:@@NLE#O:Q;ONO#`K@@;W9E#:JJNL:JU#

 ;<# =IE# `LE`:L:=;K<# K># =IE# JLEC;=# LE`KL=# :<C# JLEC;=# >;9E@# ;=# `NW9;@IEC# :<C# O:;<=:;<EC# JK<JEL<;<P#

 39:;<=;>>#$(0",#)"!*"#?;K9:=EC#=IE#+'(02#HS#)5,5'5#X#H_aHE5#

         aj5!      AU# >:;9;<P# =K# CE9E=E# ;<:JJNL:=E# ;<>KLO:=;K<# ;<# =IE# 39:;<=;>>V@# JLEC;=# >;9E# :>=EL#

 LEJE;?;<P# :J=N:9# <K=;JE# K># =IE# ;<:JJNL:JU2# WU# >:;9;<P# =K# JK<CNJ=# :# LE:@K<:W9E# ;<?E@=;P:=;K<2# WU#

 >:;9;<P#=K#O:;<=:;<#LE:@K<:W9E#`LKJECNLE@#c;=I#cI;JI#=K#>;9=EL#:<C#?EL;>U#C;@`N=EC#;<>KLO:=;K<#;<#

 =IE#39:;<=;>>V@#JLEC;=#>;9E2#WU#>:;9;<P#=K#LE?;Ec#:<C#JK<@;CEL#=IE#;<>KLO:=;K<#`LK?;CEC#=K#$(0",#

 )"!*"#WU#39:;<=;>>2#:<C#WU#LE9U;<P#N`K<#?EL;>;J:=;K<#K>#=IE#;=EO#>LKO#:#@KNLJE#$(0",#)"!*"#

 I:@#LE:@K<#=K#b<Kc#;@#N<LE9;:W9E2#$(0",#)"!*"#?;K9:=EC#=IE#+'(02#HS#)5,5'5#X#H_aH;5#

         k%&(&+*(&2#39:;<=;>>#LElNE@=@#=IE#'KNL=#E<=EL#MNCPOE<=#;<#>:?KL#K>#39:;<=;>>#:<C#:P:;<@=#

 /E>E<C:<=2#$(0",#)"!*"2#>KL6#

         :5#       0J=N:9#KL#@=:=N=KLU#C:O:PE@#`NL@N:<=#=K#HS#)5,5'5#X#H_aH<#:<C#HS#)5,5'5#H_aHKq##

         W5#       0==KL<EUV@#>EE@2#9;=;P:=;K<#EQ`E<@E@#:<C#JK@=@#K>#@N;=#`NL@N:<=#=K#HS#)5,5'5#X#H_aH<#

                   :<C#HS#)5,5'5#H_aHKq#:<C#

         J5#       ,NJI#K=IEL#:<C#>NL=IEL#LE9;E>#:@#=IE#'KNL=#CEEO@#`LK`EL5#



 !                                                    *#!
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            5'''4* !"2()*'5*8*+&',*!,/-')*,/$",)'(.*&!)*5'"%&)'"(0*
                                        63*/:$/,'&(*
                                                 #
         ai5! 39:;<=;>>#;<JKL`KL:=E@#WU#LE>ELE<JE#`:L:PL:`I@#H#=ILKNPI#ei#K>#=I;@#'KO`9:;<=5#

         aS5!     AU#>:;9;<P#=K#>K99Kc#LE:@K<:W9E#`LKJECNLE@#=K#:@@NLE#O:Q;ONO#`K@@;W9E#:JJNL:JU#

 ;<# =IE# `LE`:L:=;K<# K># =IE# JLEC;=# LE`KL=# :<C# JLEC;=# >;9E@# ;=# `NW9;@IEC# :<C# O:;<=:;<EC# JK<JEL<;<P#

 39:;<=;>>#&-3&(!0"#?;K9:=EC#=IE#+'(02#HS#)5,5'5#X#H_aHE5#

         a_5!     AU# >:;9;<P# =K# CE9E=E# ;<:JJNL:=E# ;<>KLO:=;K<# ;<# =IE# 39:;<=;>>V@# JLEC;=# >;9E# :>=EL#

 LEJE;?;<P# :J=N:9# <K=;JE# K># =IE# ;<:JJNL:JU2# WU# >:;9;<P# =K# JK<CNJ=# :# LE:@K<:W9E# ;<?E@=;P:=;K<2# WU#

 >:;9;<P#=K#O:;<=:;<#LE:@K<:W9E#`LKJECNLE@#c;=I#cI;JI#=K#>;9=EL#:<C#?EL;>U#C;@`N=EC#;<>KLO:=;K<#;<#

 =IE#39:;<=;>>V@#JLEC;=#>;9E2#WU#>:;9;<P#=K#LE?;Ec#:<C#JK<@;CEL#=IE#;<>KLO:=;K<#`LK?;CEC#=K#&-3&(!0"#

 WU#39:;<=;>>2#:<C#WU#LE9U;<P#N`K<#?EL;>;J:=;K<#K>#=IE#;=EO#>LKO#:#@KNLJE#&-3&(!0"#I:@#LE:@K<#=K#

 b<Kc#;@#N<LE9;:W9E2#&-3&(!0"#?;K9:=EC#=IE#+'(02#HS#)5,5'5#X#H_aH;5#

         k%&(&+*(&2#39:;<=;>>#LElNE@=@#=IE#'KNL=#E<=EL#MNCPOE<=#;<#>:?KL#K>#39:;<=;>>#:<C#:P:;<@=#

 /E>E<C:<=2#&-3&(!0"2#>KL6#

         :5#      0J=N:9#KL#@=:=N=KLU#C:O:PE@#`NL@N:<=#=K#HS#)5,5'5#X#H_aH<#:<C#HS#)5,5'5#H_aHKq##

         W5#      0==KL<EUV@#>EE@2#9;=;P:=;K<#EQ`E<@E@#:<C#JK@=@#K>#@N;=#`NL@N:<=#=K#HS#)5,5'5#X#H_aH<#

                  :<C#HS#)5,5'5#H_aHKq#:<C#

         J5#      ,NJI#K=IEL#:<C#>NL=IEL#LE9;E>#:@#=IE#'KNL=#CEEO@#`LK`EL5#

               ':4*   !"2()*5*8*+&',*!,/-')*,/$",)'(.*&!)*5'"%&)'"(0*
                                            63*/:$/,'&(*
                                                     #
         ae5!     39:;<=;>>#;<JKL`KL:=E@#WU#LE>ELE<JE#`:L:PL:`I@#H#=ILKNPI#ei#K>#=I;@#'KO`9:;<=5#

         aa5!     AU#>:;9;<P#=K#>K99Kc#LE:@K<:W9E#`LKJECNLE@#=K#:@@NLE#O:Q;ONO#`K@@;W9E#:JJNL:JU#

 ;<# =IE# `LE`:L:=;K<# K># =IE# JLEC;=# LE`KL=# :<C# JLEC;=# >;9E@# ;=# `NW9;@IEC# :<C# O:;<=:;<EC# JK<JEL<;<P#

 39:;<=;>>#&D)!+0-#?;K9:=EC#=IE#+'(02#HS#)5,5'5#X#H_aHE5#




 !                                                    *$!
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         aY5!    AU# >:;9;<P# =K# CE9E=E# ;<:JJNL:=E# ;<>KLO:=;K<# ;<# =IE# 39:;<=;>>V@# JLEC;=# >;9E# :>=EL#

 LEJE;?;<P# :J=N:9# <K=;JE# K># =IE# ;<:JJNL:JU2# WU# >:;9;<P# =K# JK<CNJ=# :# LE:@K<:W9E# ;<?E@=;P:=;K<2# WU#

 >:;9;<P#=K#O:;<=:;<#LE:@K<:W9E#`LKJECNLE@#c;=I#cI;JI#=K#>;9=EL#:<C#?EL;>U#C;@`N=EC#;<>KLO:=;K<#;<#

 =IE#39:;<=;>>V@#JLEC;=#>;9E2#WU#>:;9;<P#=K#LE?;Ec#:<C#JK<@;CEL#=IE#;<>KLO:=;K<#`LK?;CEC#=K#&D)!+0-#

 WU#39:;<=;>>2#:<C#WU#LE9U;<P#N`K<#?EL;>;J:=;K<#K>#=IE#;=EO#>LKO#:#@KNLJE#&D)!+0-#I:@#LE:@K<#=K#

 b<Kc#;@#N<LE9;:W9E2#&D)!+0-#?;K9:=EC#=IE#+'(02#HS#)5,5'5#X#H_aH;5#

         k%&(&+*(&2#39:;<=;>>#LElNE@=@#=IE#'KNL=#E<=EL#MNCPOE<=#;<#>:?KL#K>#39:;<=;>>#:<C#:P:;<@=#

 /E>E<C:<=2#&D)!+0-2#>KL6#

         :5#     0J=N:9#KL#@=:=N=KLU#C:O:PE@#`NL@N:<=#=K#HS#)5,5'5#X#H_aH<#:<C#HS#)5,5'5#H_aHKq##

         W5#     0==KL<EUV@#>EE@2#9;=;P:=;K<#EQ`E<@E@#:<C#JK@=@#K>#@N;=#`NL@N:<=#=K#HS#)5,5'5#X#H_aH<#

                 :<C#HS#)5,5'5#H_aHKq#:<C#

         J5#     ,NJI#K=IEL#:<C#>NL=IEL#LE9;E>#:@#=IE#'KNL=#CEEO@#`LK`EL5#

          5'4*    !"2()*''*8*,/&%*/0)&)/*0/))%/#/()*$,"!/-2,/0*&!)*
                                 5'"%&)'"(0*63*+'+)9*)9',-*
                                                    *
         YT5!    39:;<=;>>#;<JKL`KL:=E@#WU#LE>ELE<JE#`:L:PL:`I@#H#=ILKNPI#ei#K>#=I;@#'KO`9:;<=5#

         YH5!    )`K<# ;<>KLO:=;K<# :<C# WE9;E>2# +!+$%# $%!(/# I:@# :# `:==EL<# :<C# `L:J=;JE# K>#

 <K<JKO`9;:<JE# c;=I# (&,30V@# LElN;LEOE<=@# LEP:LC;<P# <K=;JE@# K># ELLKL5# # 39:;<=;>># WE9;E?E@# =IE#

 CKJNOE<=@#E@=:W9;@I;<P#=IE#>N99#EQ=E<=#K>#+!+$%#$%!(/V@#<K<JKO`9;:<JE#c;=I#<K=;JE@#K>#ELLKL#=K#

 WE#;<#=IE#EQJ9N@;?E#`K@@E@@;K<#K>#+!+$%#$%!(/5#

         k%&(&+*(&2#39:;<=;>>#LElNE@=@#=I:=#=IE#'KNL=#E<=EL#MNCPOE<=#;<#>:?KL#K>#39:;<=;>>#:<C#

 :P:;<@=#/E>E<C:<=2#+!+$%#$%!(/2#>KL6#

         :5#     0J=N:9#:<C#@=:=N=KLU#C:O:PE@q#

         W5#     0==KL<EUV@#>EE@2#9;=;P:=;K<#EQ`E<@E@#:<C#JK@=@#K>#@N;=q#:<C#

         J5#     ,NJI#K=IEL#KL#>NL=IEL#LE9;E>#:@#=IE#'KNL=#CEEO@#`LK`EL5#



 !                                                   *%!
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                                           12,3*-/#&(-#

 #     39:;<=;>>#CEO:<C@#=L;:9#WU#MNLU#K<#:99#;@@NE@#@K#=L;:W9E5#

                                               G@G#(U:<#h5#8KKLE# #         #      #      #    #
       #       #       #       #       #       (U:<#h5#8KKLE2#+9:5#A:L#"K56#eTTja#
       #       #       #       #       #       +;L@=#'K:@=#'K<@NOEL#1:c#
       #       #       #       #       #       ie_#*@JEK9:#0?E<NE#
       #       #       #       #       #       .:Jb@K<?;99E#AE:JI2#+12#j^^STdiTa^#
 #     #       #       #       #       #       36#ZYTi]#^i^deTeT#+6#ZYTi]#SHjdY^aT##
 #     #       #       #       #       #       Ed@EL?;JE6#`9E:C;<P@r>;L@=JK:@=JK<@NOEL9:c5JKO#
 #     #       #       #       #       #       '""()*!+#,()#-./0*"0,,#

 #




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                              EXHIBIT
                                               1'
                              EXHIBIT 1
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                                                              24
                                        44
  Loan number
                                                      2ndappkicachen
                                    Mortgage Assistance Application                                            FIFTH THIRD BANK
  Ifyou are having mortgage payment challenges please complete and submitthis application, along with the required
  docementation, to 5001 Kingsley Drive, MD 1MOB19, Cincinnati OH, 45227 OR by fax: 513-358-8786, online: 53.com/getheip,
                                                                                                                                   or
  email: ossiMitigationcustomerCare1@53.com. We will.contact you within five business days to acknowledge receiptand
                                                                                                                              let you
  know if you need to send additional information or documents.
  We will use the information you provide to help us ideritify the assistance you may be ellgible to receive.
                                                                                                              Ifyou need help
  completing this application, please contact Fifth Third Bank at 800-375-1745, option 3, Monday through Friday, 8:00
                                                                                                                        a.m. to 5100
  pim., ET.
  For a list of HUD-approved housing counseling agencies that can provide foreclosure
                                                                                      prevention information, contact one of the
  following federal government agencies:
  * The U.S. Department of Housing and Urban
                                                 Development (HUD) at 800-569-4287 or hud.gov/counseling.
     The Consumer Financial Protection Bureau (CFPB) at 855-411-2372 or
                                                                          consumerfinancegov/mortgagehelp.
  If you need assistance with translation or other languege assistance, HUD-approved housing
                                                                                             counseling agencies may be able to
  assist you. These services are provided without charge.

 Borrower Information
 Borrower's name:   N                                           o            # of household members:
                                4
 Social Securlty Number (last digits)

 E-mail address:

 Primary phone number:        127539-9472                                                    A4
                                                                                                  Cell El Home    E Work El Other
 Alternate phone number:                    la                                                    Cell   ElHome ElWork
                                                                                                                           EJ
                                                                                                                                Other
 Co-borrower's namer                F        lo
 Social Security Number (last 4 digits)

 E-mall address:

 Primary phone number
 Alternate phone numbers                              G                                           Cell DiHome EiWork El Other

                                                                                                  Cell   I Home   L Work   l other
 Preferred contact method (choose all that apply): E Cell phone E3 Home phone     Dl
                                                                                       Work phone ElEmail El Text-=checking
 box indicates your consent for textmessaging.                                                                            this

Is either borrower on active duty with the military (including the National
                                                                                                                      a
                                                                            Guard and Reserves), the dependent of borrower
on active duty, orthe surviving spouse of a member of the military who was on active duty
                                                                                            at the time of death? El Yes E No

Propertyinformato
Property Address: S1         PinellasBaunwarS.Ilonlo-verage 331715
Mailing address (if different from property address):
  The property is currently
                           IEG        l rimary residence
                                             i            A second home
  The propertyis (select all that apply): - Er Owner occupied
                                                                            An investment property

                                                                   Ci
                                                                 Renter occupied    VacantEI
  l waht to:-Keep the property El Sell the property         D

                                                                Transfer ownership of the property to my serviter EI Undecided
Is the property listed for sale? D Yes            -
                                             No Ifyes, provide the listing agent's name and phone number -=or indicate
                                                                                                                           "for
sale by owner" if applicable:
s tepresey hiegt tocondominium or homeowners association (HOA) fees? ELlyes D Nolfves indicate monthly dues:
5638'9                          4
LIDN 3277
                                                      sd/x14222l900
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                                                                                                               FIFTH THIRD BANK
 Hardshipinformation
  The hardship causing mörtgage paymentchallenges began on approvimately (date)
        Short Term (up to 6 months)         Long-term or permanent (greater than 6 months)
                                                                                               52         12       and is bellevedto be:
                                                                                                     Resolved as of(date)
          TYPE OF HARDSHIP (CHECK ALLTHATAPPLY)
                                                                               REQUIRED HARDSHIP DOCUMENTATIONY
        Unemployment                                                 *Copy of award letter OR
                                                                     *Termination Letter OR
                                                                       Benefits statement from benefits payer
        Reduction in income: ahardship thathas caused a                 Leiter from employer showing overtime decrease or
        decrease inyourincome dueto circumstances outside               ellmination OR
        your control (eig, elimination of overtime, reduction in
        regular working hours, a reduction in basepay)               *Letterfrom employer showingregular hours decreased OR
                                                                        Proof of furlough OR
                                                                        W2 statements from current and prioryear

        Increasein housing-related expenses: a hardship that has        Account statements OR
        caused an increase In your housing expenses due to
        circumstances outside your control (e.g, uninsured
                                                                     *Lätenotices OR
        losses, increased property taxes, HOA Soecial assessmént)      Letter showing increase pending

        Disaster (natural or man-made) Impacting the                    Not required
        property or borrower's place of employment
        Long-term or permanent disability, or serious iliness of       Written statement from the borrower, or other
        a                     or dependent family member               documentation verifving disability orilness
                                                                       Note: Detaileu medical information isnotrequired,and
                                                                       information from a medical provider is notrequired
       Divorce orlegal separation                                      Final divorce decree or finaliseparation agreement OR
                                                                       Recorded quitclaim deed
       Separation of borrowers unrelated by marriage, civil            Recorded quitclaim deed OR
       union, or similar domesticpartnership under applicable
       law                                                             Legally binding agreement evidencingthatthenon-
                                                                       occupying borrower or co-borrower has relinquished all
                                                                       rights to the property
       Death of borrower or death of either theprimary or
       secondary wage earner
                                                                       Death certificate OR    yit
                                                                       Obituary or newspaper article reporting the death
       Distant employment transfer/relocation                       *For active duty service members: Permanent Change of
                                                                       Station (PCS) orders orlettershowingtransfer
                                                                       For employment transfers/riew employment: Copyof
                                                                      signed offer letter or noticefromemployer showing
                                                                      transfer to a new location or written explanation IF
                0                                                     empfoyer documentation not applicable, AND
                                                                    *Documentation that reflects the amount of any relocation
                                                                      assistance provided (not required for those with PCS orders)

       Other - hardship that is not covered above:                    Written explanation describing the details of the hardship
                                                                      and any refevant documentation




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                                                                       FIFTH THIRD BANK
                                   lardship Summga
                                          current nardshlp


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                             escniberyour                  sttuegon

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                                         Gmthselwelseat
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     hariws werkaguy.Within
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      G2ahleteng-mghaelDb.cmd66389
       C       dtanw ulle,labsnle
            1@monSrancs danbu Wah Yz
            Cortsc              n              c                        .
             Grüths-ul-welfaltmersce
            peyIny moltsenn     wat t0       dont
             Los   Sochae +wlde   wenfto.
             ADeSpuat-nud Gnuistel
             uySenslsbacugdrc




LIDN 3277
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                                                                                                              FIFTH THIRD BANK
 Borrower Certification and Agreement
 1.    I certify and acknowledge that all of the information in this Mortgage Assistance Application is truthful, and the hardship !
       identified contributed to my needformortgage relief. Knowingly submitting faise information may violate Federaland
       other applicable law.
 2.    agree to provide my servicer with all required documents, including anyadditional supporting documentation as
       requested, and will respond ina timely manner to all servicer or authorized third party* communications.

 3. Iacknowledge and agree that my servicer  is not obligatedto offer me assistance based solely on the representationsin
       this document or other documentation suhmitted in connection with my request.

 4. Iconsenttothe servicer or authorized third party* obraining a current credit report for the borrower andco-borrower
       I consent to the disclosure by my servicer, authorized thirdparty,* or
 5,                                                                             anyinvestor/guarantorofmymortgage foan(s), of
       anypersonal information collected during the mortgage assistance process and of any information about any rellef
       receive, to any third party that deals with myfirst lien or subordinate lien (if applicable) mortgage loan(s), Including
       Fannie Mae, Freddie Mac, or any investor,insurer, guarantor, or servicer of my mortgage loan(s) or any
                                                                                                                     companies that
       provide support services to them, for purposes permittedby applicable law. Personal information mayinclude,
                                                                                                                            but is not
       limitedto: (a) my name, address, telephone number, (b) my Social Securitynumber,
                                                                                                (c) my credit score, (d) my income,
       and (e) my payment history and information about my account balances and activity.

 6.     agree that the terms of this borrower certification and agreementwill apply to any modification trial period plan,
       repaymentplan, orforbearance plan that I may be offered based on this application. IfIreceivean
                                                                                                           offerfor
       modificationtrial period plan or repaymentplan, l agree that my first timely payment under the plan will serve as
                                                                                                                        a
       acceptance of the plan.

 7. consent to being contacted concerning this application for mortgage assistance at any telephone number, including
    mobile telephone number, or email address I have provided to the lender, servicer, or authorized third party

      * An authorized third party ma fclude, butis not limited to, a housing counseling agency, Housing FinanceAgency (HFA)
       or other similar entity thatfgrosisting me in obtaining a foreclosure prevention alternative.

       Borrower signature:
                                                                                                                 /2z
       Co-Borrower signaturer                                                             Date

       Please submit your completed application, together with the required documentation, to 5001 Kingsley Drive,
                                                                                                                   MD 1M0819,
       Cincinnati OH, 45227 OR by fax: 513-358-8786, online: 53.com/gethelp, or email:
                                                                                        Lossiviltigationcustomercare1@53.com.
       We will contact you within five business days to acknowledge receipt and let you know if you need to send
                                                                                                                 additional
       information or documents.

                                                  o heip us identifytteassistanceyou may
                                                                                             be eligible to réceive.




        LIDN 3277
Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 22 of 121 PageID
                                     28




                              EXHIBIT
                              EXHIBIT 22
Case 8:25-cv-00232-TPB-TGW                      Document 1-1              Filed 01/28/25            Page 23 of 121 PageID
                                                        29


     Fifth Third Bank
     5001 Kingsley Drive
     MD 1MOB19
     Cincinnati OH 45227
                                                                                                            FIFTH THIRD BANK
      SUSAN MARANO
     751 PINELLAS BAYWAY S APT 304
     TIERRA VERDE, FL 33715

                                                                                       Date:                        December 14, 2022
                                                                                       Account:                                     144



                                Important Information Regarding Your Hardship Application

    Dear Borrower(s),
   We appreciate your business and value the trustyou've placedin us. We try to assist our customers in difficult
   financar situations whenever feasible and are contactingyou regarding yourcompletediossmitigationworkout*
   package for the mortgage loanreferenced above.
    The decision on your hardship application is pending and will be communicated to you separately.

    In the meantime, a copy of the property valuation for your hardship application isenclosed. According to federal
    law, you have a right to receive these documents, whether your application is approved or not.

   The enclosed appraisal or valuation documents are for informational purposes only. This does notrepresent
   loss mitigation workout commitment and does not require that you go forward with any approved loss mitigation
                                                                                                                                a
   workout options.

   Ifyou have questions about this letter oryour hardship application, please contact us
                      8
   through Friday, a.m. to 5 pim. ET.
                                                                                                     at855-736-4578, Monday
   Thank you for being a Fifth Third customer.

   Sincerely,

   Fifth Third Bank

   Enclosure

                                                                                                  is
   BANKRUPTCY NOTICE: To the extent your original obligation was discharged, or subject to an automatic stay
   of bankruptcy under Title 11 of the United States Code, this letter is for compliance and/or informationalpurposes
   only and does not constitute an attempt to collect a debt or to impose personal liability forsuchobligation.
   However, Creditor retains rights under its security instrument, including the right to foreclose its lien. Any
                                                                                 of
   negotiations or arrangements entered into do not constitute a waiver your discharge, an attempt to dollect
   against you personally or an attempt to revive your personal liability for the debt.




   LIDN 3759
   Efth Third Bank National Association. Member FDIC. Equal Housing Lender.Fifth Third and Fifih Third Bank are registered servicemarks
   c/ 5h Third Bancorp,                              @
Case 8:25-cv-00232-TPB-TGW                Document 1-1          Filed 01/28/25        Page 24 of 121 PageID
                                                  30


    LOAN NUMBER:                     **7144
    BÖRROWER(S):                   SUSAN MARANO

    PROPERTYADDRESS:               751 PINELLAS
                                              BAYWAY S APT304
                                   TIERRAVERDE,FL 33715


                                             BROPERTYVALUATION

   While processing your applicaticn, the followinginformaitfonwasoftalnai rgarding thie value of vour property
   from the automaned propeftyeatantn teetiniyFreddie fac. The varre estrimtoeprekeintethiestimated manket
   value of yourproperty,


   Value Estimate: $476.400.00
                      theite                             u
                                                                                              e“




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  LIDN 3769                                                                                                       2
Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 25 of 121 PageID
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                              EXHIBIT
                              EXHIBIT 33
Case 8:25-cv-00232-TPB-TGW                 Document 1-1 Filed 01/28/25                Page 26 of 121 PageID
   54PM                                            Maul-susanmarano Qudcok
                                                                       -
                                                   32

  RE: I'm getting really worried

 Wrighit, Deanna <Deannawright@53.com>
 Thu 12/29/2022 143 PM
 To: susan marano <s.marano@hotmail.com>
  Hello,
  Please excuse my delayed response as l was out before the holidays and am just retuming
  Your account nasbeenplaced dnder protection wntle it is under reviewansietter orpascnuenogee ror anuary
  is something that gets automaticallysent out because the system just sees the accountesnopayments coming    it
  No foreclosure will start while you are under review as thisplacestheprocessonsoldAs ortoday ycur nle is still
  under review. We will be reaching out as soon as underwriting produces an offe

 Thank you for reaching out and l hope you had a great holidayas well, Happynewyear



                                                                 Wereis Wbers
                                                                                                       Gvn

  Deanna Wright                                                  OSSu
 Homeowner's Assistance Customer Gare Specialist
                                                                                       Po              d
                                                                                               v        A0
                          |                              |
           Fifth Third Bank 5001 Kingsley Dri MD 1MOB19 Cincinnati, OH 45227
           855-736-4578 | fax: 513-358-8786                                           B2repored
                                                                                      Duad
 From:susan marano <s.marano@hotmail.com>
 Sent: Wednesday, December 28, 2022 7:04 PM
 To: Wright, Deanna <Deanna.Wright@53.com>
 Subject: I'm getting really worried

                                           CAUTION EXTERNAL EMAIL
           DO NOT open attachments or click on linksfrom unknown senders or unexpected emails
                                                                                    am
 Hi there I haven't heard back from you and I just got something in the mail that says l $6256 in arrears and T'm
 really upset. I really need someone to call me and walk me through what's going on because you told me that !
                                                   at
 would beprotected and this bill here is freaking me 727-539-9472. You told me that you wouldn't respond ifI
 sent you emails and f've sent you quite a few and I haven't heard back.

 Susan Marano
 727-539-9472
                                      CAUTION EXTERNAL EMAIL
           DO NOT open attachments or click on finks from unknown senders or unexpected emails




 This e-mail transmission contains information that is confidential and may be privileged. Itis intended
 only for the addressee(s) named above. If you receive this e-mail in error, please do not read, copy or
 disseminate it in any manner. If you are not the intended recipient, any disclosure, copying,
 Estribution or use of the contents of this information is prohibited. Please reply to the message
 mamediately by informing the sender that the message was misdirected. After replying please erase it
     ryour computer system. Your assistance in correcting this error is appreciated.
                  ÖASADMKADAWATYOMDABLWMZNGUtODBIOSOWMAMDAKAEYAAAP5S3dCImeHRrOjWkwSjicußwDbifkgvE74SBRV5.
                                                                                                  1/1
  Case 8:25-cv-00232-TPB-TGW                     Document 1-1 Filed 01/28/25                   Page 27 of 121 PageID
3/27/23, 6:56 PM                                          Matl - susan marano - UUllooK
                                                         33

       RE: I'm getting really worried

       Wright, Deanna <Deanna.Wright@53.com>


                    |
       Thu 12/29/2022 3:54 PM
       To:susan marano <s.marano@hotmail.coms
       Hey Susan am going     to
                             personally reach out to the underwriter and see if t can get an update for you on this
       matter.Iappreciate your patience with us on this.

      I will reach out as soon as I get an update.
       Thank you



       Deanna Wright
       Homeowner's Assistance Customer Care Specialist

                   Fifth Third Bank | 5001 Kingsley Dr MD 1MOB19   | Cincinnati, OH 45227
                   855-736-4578| fax: 513-358-8786




       From: susan marano <s.marano@hotmail.com>
       Sent: Thursday, December 29, 2022 2:59 PM
       To: Wright, Deanna <Deanna.Wright@53.com>
       Subject: Re: I'm getting really worried

                                                  CAUTION EXTERNAL EMAIL
                   BO NOT open attachments or click on links from unknown sendets or unexpected eraalls
       Oh my goodness thank you somuchforgetting back to me. I was starting to freak out. But riow that I read your
       letter word review scares me now because it seems as though they havethe right to decline giving me a
       forbearance which will really put me in a bind. Hook forward to hearing from you soon. Thank you.

       Susan Marano
       727-539-9472


              On Dec 29, 2022, at 1:43 PM,Wright, Deanna <Deanna Wright@53 com> wrote:



               Hello,
              Please excuse my delayed response as I was out before the holidays and am just returning.
              Your account has been placed under protection while it is underreview. This letterof past due
              notice for january is something that gets automatically sent out because the system just sees the
              account as no payments coming    it No foreclosure will start whileyouare under review as this
              places the process on hold. As of today your file isstill under review. We will be reaching out as soon
              as enderwriting produces an offer.

              Thank you for reachingoutand    Ihope you had a great holidayas well, Happy    new   year !




                   ponmaiV/Ü/d/AQMKADAWATYOMDABLWMZNGUtODBIOSDWMAIMDÄKAEYAAAP533dCImeHRrO/WiwSjicußwDbifigE74S8Rv5.     1/2
  Case 8:25-cv-00232-TPB-TGW                  Document 1-1 Filed 01/28/25                Page 28 of 121 PageID
3/27/23, 6:58 PM                                      Mall -susanmarano-Guupge
                                                      34

       RE: Hil

       Wright, Deanna <Deanna.Wright@53.com>
       Wed 1/11/2023 6.25 PM
       To: susan marano     s.merano@fotmail.com>
       Hello,
       Please advise I reached out to my supervisoronthismatterandamrawaitinganemailwitl
                                                                                                  ansupdate ion
       the reportings Please note also that letters will automatically besentoutaslongastheress
                                                                                                          fare
       outstanding balance. In the meantime, there is one more piece ofdocumentation the ans
                                                                                       shipz  ocase mndlude
       asking for. Could you please send me a written explanation detailing your harg
       timeframes as underwriting wants to know the reason for initially falling behind) As soonasyou sendme
       thisl will get it sent over so the review can continue
       Also please note l did check and your account still says it is under protections Iwillcontactwittan
      update.
      Thank you,


       Deanna Wright
       Homeowner's Assistance Customer Care Specialist
       Please be sure to include your account number in your response , thank you

       Fifth Third Bank + 5001Kingsiey Dr | MD 1MO819        |   Cincinnati, OH 452271
                       |
       855-736-4578 fax: 513-358-8786


          Original Message-
       From: susan marano <s.marano@hotmail.com>
       Sent: Monday, January 9, 2023 1:30 PM
        o Wright, Deanna <Deanna.Wright@53.com>
       Subject Hil

       CAUTION EXTERNALEMAIL:

                           attachments or click on links from unknown sendersorunexpected eralls


       Dia you get my email over the weekend that I sent you should ve gotten it this moming t received a very
         oserting letter that I am $6000 in the hote and that it's been reported to te credit oureaus and then
           goinginto foreclosure. Could you please reach out to me 727-539 9472 or send me an email or
        odate me in some way because this is really upsetting.
       Susan Marano RN
          CAUTION
                EXTERNAL
                       EMÄIL**

         DO NOTopen attachments or click on links from unknown senders or unexpected emails“

             e mail transmission contains information that is confidential and may be privileged It is intended
             for the addressee(s) named above. If you receivethise-mail inerrorplease donotread, copy or

                     G/O/d/AOMKADAWATYOMDABLWMZNGUtODBIOSOWMAIIMDAKAEYAAAP533dCImeHRrOjWkwSjicußBwDbilfkgvE74S6Rv5...1/20
  Case 8:25-cv-00232-TPB-TGW                      Document 1-1 Filed 01/28/25                  Page 29 of 121 PageID
3/27123, 7:06 PM                                           Mall - susan marano - DutlooK
                                                          35

       Loss Mitigation
       Wright, Deanna <Deanna.Wrignt@53.com>
       Thu 1/12/2023 7:55 AM
       To: susan marano <s.marano@hotmail.com>
       Hello and good morning - My supervisor got back to me on the matter of the credit report
       current with disaster protections. Which means its notreportingdelinquencybutitwillshow a balance thope
       this answered your question.

       Thank you,


       Deanna Wright
       Homeowner's Assistance Customer Carg Spechalist

       Please be sure to include your account number in your response , thank you,

                   Fifth Third Bank | 5001 Kingsley Dr| MD 1MOB19
                                |
                   855-736-4578 fax: REDACTE
                                                                    |   Cincinnati, OH 45227




       This e-mail transmission contains information that is confidential and may be privileged. It is intended
       only for the addressee(s) named above. Ifyou receive this e-mail in error. please donotread,copy       or
       disseminate it in any manner. If you are not the intended recipient, any disclosure, copying
       distribution or use of the contents of this information isprohibited. Please reply to the message
       immediately by informing tne sender that the message was misdirected. Arter replying, please erase it
                                                           in
       from your computer system. Your assistance correcting this error is appreciated




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                   scom/                                                                                               1/1
                                                           Mall-susan marano
  Case 8:25-cv-00232-TPB-TGW                      Document 1-1 Filed 01/28/25             Page 30 of 121 PageID
3/27123, 708 PM                                           36

      Loss Mitigation
      Wright, Dearna < Deanna.Wright@53.com>
      Fri 1/20/2023 831 AM
      To: susan marano <s.marano@hotmail.com>


      Hello, I am writingtotellyouyourdocumentshaveallbeenuploadedandwill
     Underwriting gets 30 days to review your file bur you cancheckinonthestatusoryour harcsn    vmenever you   d
     dlike. You will receive a letter regarding the decision once it has been made. Should you
      questions please call us at 855-736-4578.

      Thank you

      Deanna Wright
      Homeowner's Assistance Customer Care Specialist                               P8s
      Please be sure to include your account number in your response , thank you.

                                  |
                  Firth Ihird Bank 50u1 Kingstey Dr | MD 1MOBis | Cincinnau, OH 45247
                              |
                  855-736 4576 fax: 513-358-8786




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      only for theaddressee(s) named above. If you receive this e-mail in error, please de not read opy or
      disseminate it in any manner. If you are not the intended recipient, any disclosure, copymg
      distribution or use of the contents of this information is prohibited. Please reply to the mes S346
       immediately by informing the sender that the message was misdirected. After repiying piease eraseit
      from your computer system. Your assistance in correcting this error is appreciated




httpssfioutiooklive.com/mail/O/d/AQMKADAWATYOMDABLWMZNGUIODBIOSOWMAIMDAKAEYAAAF                                     141
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                              EXHIBIT 4
                              EXHIBIT 4
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                                                          38



   Fifth Third Bank
   5001 Kingsley Drive                                                                                                   0D
   MD 1MOB19
   Cincinnati OH 45227
                                                                                                             FIFTH THIRD BANK
   SUSAN MARANO
   751 PINELLAS BAYWAY S APT 304
   TIERRA VERDE, FL 33715

                                                                                   Date:                         February 15, 2023
                                                                                   Account:                      REDA

                                Your Homeowner's Assistance Application: Action Required

   Dear Borrower (s),
  We appreciate your participation in our Homeowners Assistance Program and are contacting you because we
  need additional information from you to complete your file and process your request.
  Please review the information below carefully and return the additional document(s) requested no later
  than 30 days from the date of this letter. If you need assistance while gathering the information to
  return, please contact us at 855-736-4578. It is important that we receive your documents in the time
  frame requested so that you do not lose your eligibility for this program.
  Documents still needed
  Please forward the documents listed below. We may also contact you for additional information and ask that you
  promptly return any calls from us so that we are able to continue processing your request. Once we have all
  requested items, your application will be complete.
      General:

                Other Requirement: Need 3 month profit and loss for second business
                Other Requirement: Need update 3 month profit and loss for Elite PSNC
                Other Requirement: Please contact 5/3 Bank for more information
  If IRS Form 4506-T is needed and you need another copy, go to irs.gov and search °4506-T* in the search
  window.

  Forwarding your documents
  We'll need to have your documents within 30 days of the date of this letter. You can use one of the
  following methods:

                    Online:        53.com/mortgagerelief
                    Fax:           513-358-8786
                    Mail:          Fifth Third Bank
                                   5001 Kingsley Drive
                                   MD 1MOB19
                                   Cincinnati OH 45227

  Note: Do not provide any personal medical information, such as personal records or documents, explanations of
  medical condition(s) or medication history. All personal medical information should be kept confidential.

  Once we receive all required information, we will review your application in more detail for all available Home
  Assistance Programs in accordance with the guidelines of your mortgage lender to determine which assistance
  program may be most suitable for your situation. If your loan is owned or guaranteed by a mortgage loan
  investor or insurer, an assistance program may require their final approval. The decision regarding your
  eligibility will be made within 30 days after all required information is received.

  LIDN 1244
  Fifth Third Bank, National Association. Member FDIC.   G Equal Housing Lender. Fifth Third and Fifth Third Bank are registered service
  marks of Fifth Third Bancorp.
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  Valuation of your property
  To complete our review of your Homeowner's Assistance Application, we may order a new valuation of the
  property. This will be either a broker's price opinion (BPO) or automated valuation model (AVM). A BPO or AVM
  is an external tool that analyzes your property against other comparable properties to determine an estimated
  sale price or property value. If we obtain a new AVM or BPO, you can expect to receive a copy promptly, even if
  your application for assistance is not approved.

  Additional important information
            If we receive your package within 37 days of a scheduled foreclosure sale, we will make every
            effort to expedite our review of it prior to a scheduled foreclosure sale. If appropriate, we may
            attempt to postpone a scheduled foreclosure sale to allow us time to complete a full review of
            your package. A foreclosure sale postponement is not guaranteed, and in some jurisdictions, we
            may be unable to postpone a scheduled foreclosure sale based on local regulations.

                Be aware that all collection/foreclosure activity initiated will continue until the holder of your mortgage
                approves your request for a homeowners assistance program and may require the first payment be
                received. This request for additional information will not suspend or cancel any scheduled collection
                or foreclosure activity up to and including foreclosure sale of the property.

                If you have any other mortgage loans secured by the same property (above), we strongly suggest
                that you contact the loan servicer(s) to discuss additional assistance options that may be available to
                you.

  We're here to heip
  If you have any questions during this process, please call us at 855-736-4578, Monday through Friday, 8 a.m. to
  5 p.m., ET. General information can also be found at 53.com/gethelp.
  Additionally, the U.S. Department of Housing and Urban Development (HUD) provides approved counselors
  who can assist you with completing your workout' package. You can contact them at
  hud.gov/offices/hsg/sfh/hcc/fc/.

   We look forward to receiving your information and working with you.

   Sincerely,

   GRMNN
  Glenn Meadows
  Senior Vice President
  Fifth Third Bank, National Association, acknowledges bankruptcy filings and the borrower(s)'s right to retain an
  attorney. We will refrain from any further communication with a borrower(s) who has/have filed bankruptcy or
  who has retained an attorney regarding collection of the debt, unless we receive instructions stating otherwise.

  BANKRUPTCY NOTICE: To the extent your original obligation was discharged, or is subject to an automatic
  stay of bankruptcy under Title 11 of the United States Code, this letter is for compliance and/or informational
  purposes only and does not constitute an attempt to collect a debt or to impose personal liability for such
  obligation. However, Creditor retains rights under its security instrument, including the right to foreclose its
  lien. Any negotiations or arrangements entered into do not constitute a waiver of your discharge, an attempt to
  collect against you personally or an attempt to revive your personal liability for the debt.




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   Error resolution procedures
   If you believe there is an error with your account, please write us at the address below. Include your name and
   loan number, along with the error you are inquiring about and explain as clearly as you can why you believe
   there is an error.

                                        Fifth Third Bank
                                        5050 Kingsley Drive
                                        MD 1MOCFP
                                        Cincinnati OH 45227


   Our credit decision was based in whole or in part on information obtained in a report from the consumer
   reporting agency listed below. You have a right under the Fair Credit Reporting Act to know the information
   contained in your credit file at the consumer reporting agency. The reporting agency played no part in our
   decision and is unable to supply specific reasons why we have denied credit to you. You also have the right to a
   free copy of the report from the reporting agency, if you request it no later than 60 days after you receive this
   notice. In addition, if you find that any information contained in the report you receive is inaccurate or
   incomplete, you have the right to dispute the matter with the reporting agency. It can be obtained by contacting
   them at 800-888-4213 or by writing to:
                                       TransUnion - Consumer Relations
                                       2 Baldwin Place
                                       P.O. Box 1000
                                       Chester PA 19022
  The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the
  basis of race, color, religion, national origin, sex, marital status, age (provided that the applicant has the capacity
  to enter into a binding contract); because all or part of the applicant s income derives from any public assistance
  program or because the applicant has in good faith exercised any right under the Consumer Credit Protection
  Act. The federal agency that administers compliance with this law concerning this creditor is the Consumer
  Financial Protection Bureau and can be reached by writing to:

                                       Consumer Financial Protection Bureau
                                       1700 G Street N.W.
                                       Washington DC 20006




   LIDN 1244                                                                                                        3
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                              EXHIBIT 55
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                                                    42
   Synchrony Bank
   PO Box 71735
   Philadelphia, PA 19176-1735




                                                      125780
                                                                                                          03/28/2023
       SUSAN MARANO
       APT 304
       751 PINELLAS BAYWAY S
       SAINT PETERSBURG FL 33715-1945



   Regarding your TJX Rewards@ Platinum Mastercard@ account ending in REDCTED

   Dear Susan Marano,
                                                                                                                        JZ9I
   Based on a recent review of your account, Synchrony Bank has lowered your creditline to $500. Your                   0698
   account remains open and available for use, subject to the new credit line.      limebr ort mo/t-*                   8888
                                        po5    m du             dL          t hon ruar 3 oY Bn mrs                      FOC
   Our decision was based in part on a scoring system that was used to predict your creditworthiness. The
   reason(s) for our decision are listed below.                        her anSelicrs B            3 *
                                                                                                                        L0


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                                                                                                                        BZE0
                                                                       D


       Delinquent Or Derogatory Real Estate Secured Loan
       Delinquent Or Derogatory Status On Real Estate Secured Loan Is Too Recent                                        HOV4
       Balances On Accounts Too High Compared To Credit Limits And Loan Amounts
       Total Delinquent Or Derogatory Balances On Real Estate Secured Loans Too High                                    T0000
                                                                                                                        d0


   Some information used to make this decision was obtained from the consumer reporting agency listed below.            Z0000
   This consumer reporting agency did not make this credit decision and is unable to provide you with the
   specific reason(s) for our action. If you believe there may be information on your credit bureau that is not
                                                                                                                        E0DW
   correct, we suggest you contact the consumer reporting agency below to verify the information.

   Information about your External Credit Score used in this evaluation for credit
   In addition, we also obtained an external credit score from the consumer reporting agency listed below and
                                                                                                                        08Z
   used it in part in making our credit decision. Your credit score is a number that reflects the information in your
   credit report. Your credit score can change, depending on how the information in your credit report changes.
   The credit score below was developed using standard industry methods and was used in evaluating the
   action taken on your account. The credit score may differ from the score you may obtain from a consumer
   reporting agency.




   Please see reverse side for important information

   Account is owned by Synchrony Bank
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                                                                                                         nsS vtafemi
                                                                                                             S0TIT x03G3
                                                                                         ae0 atret An sirtdlebrär9
ALL   PERSONS     TO WHOM     THIS   LETTER IS ADDRESSED

Please direct any inquiries concerning this notice to the creditor whose name and address islocated inthe
upper left hand corner of the reverse side,
Requests for a copy of your credit report should be sent to the credit reporting agency listedonithereverse
side. If no agency is listed, a credit report was not utilized in making this decision.

The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants ion
the basis of race, color, religion. national origin, sex, marital status, age (provided the applicarit has the
capacity to enter into à binding contract), because all or part of the applicant's income derves from any pubilic
assistance program or because the applicant has in good faith exercised any right under the Conaumer Credit
Protection Act.

Creditor: Synchrony Bank. The federal agency that administers compliance with this law concerning this
                                                               €
creditor is the Consumer Financial Protection Bureau, 1700 Street NW., Washingion, DG.20552.
                                                                                                             $




Under the federal Fair Credit Reporting Act, if a consumer reporting agency or agencies is identilied in this
letter, you have the right (i) to obtain, within 60 days from yourreceipt of this letter, a free copy of a consurer

                         a
report on you from the identified agency or agencies and (i) to-dispute the accuracy or complateress of any
informationon you in consumer report furnished by the consumer reporting agency or agencies.

OHIO RESIDENTS: The Ohio laws against discrimination require that all creditors make credit equally
available to all credit worthy customers and that credit reporting agencies maintain separate credit histories
on each individual upon request. The Ohio Civil Rights Commission administers compliance with thislaw.

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              ooled zeisten nanege gmpndeanormmes n wfyicoar cla ms cialso ne benictião oafs ew acimots al
           or

      auo), N mNatseotL ort dloblten 3Bts teofuhs,       bese phata     Y     ,spo #texo nuo ganlbtum ni nusg ai # beeu
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Case 8:25-cv-00232-TPB-TGW                    Document 1-1           Filed 01/28/25          Page 38 of 121 PageID
                                                      44
Your credit score: 568
Date: March 16, 2023

Scores range from a low of 300 to a high of 850.

Key factors that adversely affected your credit score:

    Delinquent Or Derogatory Real Estate Secured Loan
    Delinquent Or Derogatory Status On Real Estate Secured Loan Is Too Recent
    Balances On Accounts Too High Compared To Credit Limits And Loan Amounts
    Total Delinquent Or Derogatory Balances On Real Estate Secured Loans Too High
    Number Of Inquiries Was A Factor In Determining Score

While the date of the credit score may not be recent, your score has likely not changed significantly since this
date. We receive updated scores on a periodic basis, and when significant changes occur. If you believe
there may be information on your credit bureau that is not correct, we suggest you contact the consumer
reporting agency below to verify the information.

TRANSUNION CONSUMER RELATIONS
WWW.TRANSUNION.COM/MYOPTIONS
2 BALDWIN PLACE/P.O. BOX 1000
                                                                                                                     NO
CHESTER, PA 19022                                                                                                    864D
800-888-4213                                                                                                         S888
                                                                                                                     304
If you have any questions, please call the phone number listed below.                                                07


Sincerely,                                                                                                           2303
Synchrony Bank
                                                                                                                     PAGE
1-877-890-3150                                                                                                       00002
                                                                                                                     OF


                                                                                                                     00002
                                                                                                                     AC03


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                              EXHIBIT
                              EXHIBIT 66
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                                                  ACHIEVA CREDIT UNION,
                                                P.O. Box 1500 Dunedin, Florida 34507


                                                                                                Data 4/14/2023




            SUSAN MARANO
           751 PINELLAS BAYWAY S, APT 304
           ST PETERSSURG. FL 33716-1946



     Thank you for your application for                Personel Loen foran Amgunt ol 85009.00               requested 04/14/2023
     We are unable to offer you credit on the terms you requestedfor the following reasons:
            AMOUNT PAS1 DUE TN ACCOUNTS

           NUMBER
               OFINOURUES
                       DAYHAVEAL
                              SOADVERSHLY
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           PROPOPTONOFEALANCEB
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           SERIOUS DELINOUENCY
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           TME SINCEDELINOUENCY

     Our credit decision was based in whole or in part on information obtained in a report from the consumer reporring agency
     listedbelow. You havearight underthe Fair Credit Reporting Act to kmnowthe information contailnedin your credit nile at the
     consumer reporting agency.Thereportingagency played no part in our decision and is unable to supply spedinie reasons why
     we have denied credit to you. You also have arightto a free copy ofyourreportfrom thereportingasencv.ifyourequestitno
     later than 60 days after you receive this notice in addition,ifyou findthat anyinformation
                                                                                             contalned
                                                                                                     inthiereportyoureceive
     is inaccurate or incomplete, you have the rightto dispute thematterwith the reportingagency,

                                                                 Equifax
                                                             P.O. Box 740241
                                                         Atlanta, GA30374-0241

                                                              800-685-1111
    We also obtained your credit score from the consumer reporting agency and used ft inmaking our creditdecision Your
                   a
    credit score is number that reflects the information in your consumer report. Your credit score canchanse, depending on
    how the information in your consumer report changes.

             Your credit scor
             Date: 04/14/202
             Scores range from a low of 250 toahigh    of 900
             Key factors that adversely affected your credit score;
             AMOUNT  PASTDUEONACCOUNTS
           NUMBER OEINGLIRIESMAYHAVEALSOADVERSELY  IMPACTEDTHEECORE
                                  TOCREDITUMTSIS TOOHIGHONBANKPEVOLVINGOROTHERREVOLVING
           1 PROPOFTION OF BALANCES                                                   ACOOUNTS
           SERIOUS DEUNOUENCY
           TIME SINCEDELINQUENCY
                               IS TOORECENTIORUNKNOWN


     Our credit decision was basedin whole or in part on information obtained from an outside source other thanee
    reportingagency.Urider theFair Credit Reporting Act you have the right to make a written request, no later than 6o             er
    you recelve this notice, for disclosure of the nature of this information.
    Ifyou have anyquestions regardingthis notice, vou should contact:Achleva Credit Union POBox 1500.



                                                                                                       ISR-AgEV
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                              EXHIBIT
                              EXHIBIT 77
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                     Fitth Third Bank
                     5001 Kingsley Drive
                     MD 1M0819
                     Cincinnati OH 45227                                                       FIFTH THIRD BANK
                     BY FIRST CLASS MAIL

                     SUSAN MARANO
                     751 PINELLAS BAYWAY S APT 304                    144                      Date:                          March 31, 2023
                     TIERRA VERDE FL 33715-1945                                                                                     ***7144
                                                                                               Account:
                                                                                               Property:      751 PINELLAS BAYWAYS APT
                                                                      144
                                                                                                                                          304
                                                                                                                    TIERRA VERDE FL 33715



                                                                                                            Due In Full
                             Urgent Notice Regarding Acceleration of Mortgage Loan: Payment
               Dear SUSAN MARANO:
                                                                                                                   account.
               We are sending this notice to provide important information regarding the above referenced
               What you need to know
               We are hereby exercising our contractual right to accelerate your loan.
               This means that the entire amount of the outstanding balance on this account has been, and is
                                                                                                               hereby.
               declared accelerated and immediately due.  The  Accelerated Amount   as of 03/31/2023   is $276,591.24
                                                                                                                   and
               and equais the entire unpaid loan balance plus any applicable fees and charges thathave accrued,
               can be assessed per the loan documents and    applicable law sincethe  date of default.

               We intend to proceed with the remedies described in the Mortgage/Deed ofTrust, Note, and/or to
               modifications to the loan documents, as permitted under applicable law.We may also be entitled
               collect expenses incurred in pursuing the remedies available to us, including, but notlimited to.
               attorney's fees and costs where allowed by law. To enforce our rights, we have referred the loan  to our
                                                                                                             concerning
               law firm/trusteewhich will proceed with foreclosure. Please direct all future communications
               the foreclosure to:

                                                         KASS SHULER, P.A.
                                                         1505 N. FLORIDA AVE
                                                         TAMPA FL 33602
                                                         813-229-0900

                Right to reinstate the loan
               While the loan has been accelerated and is now duein full, there may still bethe right, bylaw and/or through
               the mortgage/deed of trust, to reinstate the loan. To obtain areinstatement quote, please contact thelaw




00293967000144
                firm/trustee above.

               Any amoants received less than the total amount due to reinstate are not applied toyour mortgage These
               amounts are held temporarily in a separate unapplied funds account and reviewed for properhandling.
               Acceptance of these amounts should not be construed as a cure of the default or a waiver of our rights.

               We also encourage youto contact the Homeowner's HOPE Hotline at 888-995-HOPE (4673) ifyou need
               further counseling. These services are free of charge, available in both English and Spanish and certified by
               the U.S. Department of Housing and Urban Development (HUD).




100N1/14
/
20230401
/
/
FTBWLIDN 4712
      Fifth Third Bank, National Association. Member FDIC.   Equal Housing Lender. Filth Third and Fifth Third Bank are registered service marks of   /0745
MTC001Fifth Third Bancorp.                                                                                                                            MG
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                              EXHIBIT
                              EXHIBIT 8&
        I#: 2023090190 BK: 22400
Case 8:25-cv-00232-TPB-TGW         PG: 121, 04/07/2023
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                                                                 PM, RECORDING           at
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         $10.00                                 AND COMPTROLLER PINELLAS COUNTY, FL BY
                     KEN BURKE, CLERK OF COURT 50
         DEPUTY CLERK: CLK100558



           Record and Return To:
           FIFTH THIRD BANK
           LIEN   RELEASE
           38 FOUNTAIN SQUARE PLAZA
           MD# 1MOBB1
           CINCINNATI, OH 45273
           Prepared By:
           ANNA SANTIAGO
           FIFTH THIRD BANK
           5001 KINGSLEY DRIVE
           MD# IMOBB1
           CINCINNATI, OH 45227
           800-972-3030
           Loan #: 0300587144
           MIN: 100400013100664165
           MERS Phone #: (888) 679-6377

                                                        ASSIGNMENT OF MORTGAGE
               For good and valuable consideration, the sufficiency of which is hereby acknowledged, MORTGAGE ELECTRONIC
           REGISTRATION SYSTEMS, INC. ("MERS"),ASMORTGAGEE, AS DESIGNATED NOMINEE FOR LENDUSLLC, BENEFICIARY
           OF THESECURITY INSTRUMENT, ITSSUCCESSORSAND ASSIGNS., P.O. BOX 2026, FLINT, MI 48501 (888) 679-6377, by
           these presents does convey, assign, transfer and set over to: FIFTH THIRD BANK, N.A., 5001 KINGSLEY DRIVE 1MOBB1,
           CINCINNATI, OH 45227, the described Mortgage, with all interest, all liens, and any rights due or to become due thereon. Said
           Mortgage for $280000.00is recorded in the State ofFLORIDA, County of Pinellas Official Records, dated 01/19/2021 and recorded
           on 01/26/2021,as Instrument No. 2021024722 in Book No. 21358, at Page No. 42
           Original Mortgagor: SUSAN MARANO single woman
           Original Mortgagec: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.("MERS"), AS NOMINEE FOR LENDUS, LLC,
           BENEFICIARY OF SECURITY INSTRUMENT, ITS SUCCESSORS AND ASSIGNS
           Property Address: 751 PINELLAS BAYWAY S APT 304, TIERRA VERDE, FL 33715
           Date: 04/06/2023.
           MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC.
           ("MERS"), AS MORTGAGEE, AS DESIGNATED NOMINEE
           FOR LENDUSLLC, BENEFICIARY OF THE SECURITY
           INSTRUMENT, ITS SUCCESSORS AND ASSIGNS.


           By: /
           Name: Kris Kleehamer
           Title: Vice President

            STATE OF Ohio                 s.s.
            COUNTY OF HAMILTON
           On 04/06/2023, before me, Sally Knox, Notary Public, personally appeared Kris Kleehamer, Vice President of MORTGAGE
           ELECTRONIC REGISTRATION SYSTEMS, INC. ("MERS"), AS MORTGAGEE, AS DESIGNATED NOMINEE FOR LENDUS LLC,
           BENEFICIARY OF THE SECURITY INSTRUMENT, ITS SUCCESSORS AND ASSIGNS, , personally known to me (or proved to me
           the basis of satisfactory evidence) to be the person whose name is subscribed to the within instrument and acknowledged to me that
           she/he/they executed the same in her/his/their authorized capacity(ies), and thatby her/his/their signature(s) on the instrumentthe
           person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.
           Witness my hand and official seal.
                                                                                               SALLY KNOX


            Styinar
                                                                                              anAublc.StatsdiCho
                                                                                                 SONt2013RE670604
                 Sally
           Notary Public:    Knox
           My Commission Expires: 05/18/2026
           Commission #: 2016-RE-570684
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                              EXHIBIT 9
                              EXHIBIT        9
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                        REBBECCA GOODALL LAW P. A.
                                        P.O. Box 1304. Elfers. FL 34680
                                                (813) 438-3695
                               Rgoodall.law@gmail.com www.RGoodallLaw.com

                                                               April 24, 2023

  Fifth Third Bank
  5050 Kingsley Drive
  MD1 MOCFP
  Cincinnati, OH 45227

                 Re: Susan Marano
                 Property Address: 751 Pinellas Bayway S. Apt 304, Tierra Verde, FL 33715
                 Account No. REDATED

  To Whom It May Concern:

           This office represents the Borrower, Susan Marano, with respect to the loan on the above
  referenced property. This representation encompasses the debt within the meaning of Florida
  Statutes, Section 559.72(18) and 15 United States Code, Section 1692c(a)(2). Please accept this
  letter as a notice of error under the Real Estate Settlement Procedures Act, 12 U.S.C. § 2605(e),
  and Regulation X, 12 C.F.R. 1204.35 and 1024.36.

          As you may be aware, Susan Marano has applied for loss mitigation protection on account
  of her disaster forebearance at least twice. Notwithstanding assurances that her file was sent to an
  underwriter by Deanna Wright and Jeff Hummer in loss mitigation, she has never received a
  response approving or denying her application. Instead, she has been repeatedly told that her
  application is expired because information was not received. Now she is being reported as 90 days
  late despite the fact that she has complied with your every instruction and request.

         Please review the loss mitigation applications and information submitted by Susan Marano
  and provide a letter advising her that she is approved or denied and the reasons for denial. Please
  also remove all negative credit reporting information from her credit file as she was continually
  assured she would not be adversely reported during this process and you failed to review her
  application. To the extent you contend she was fully reviewed, please provide any notices that
  were allegedly sent to her advising her of the outcome of her application.

     Pursuant to 12 C.F.R. § 1024.35(d) and § 1024.36(c) you must acknowledge receipt of this
  qualified written request within five days of receipt. You must provide a response to this request
  no later than thirty business days after receipt pursuant to 12 C.F.R. § 1024.35(e)(3)(c) and §


                                                        Regards,


                                                       Rebbecca Goodall
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                             EXHIBIT 10
                             EXHIBIT 10
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    FIFTH THIRS BANK
       5050 Kingsley Drive12
      MD 1MOCOP
      Cincinnati OH 45263


      Rebbecca Goodall Law P.A.
      Attn: Rebbecca Goodall
      PO Box 1304
      Elfers LO 34680


                                                                                                         Date:    May 18, 2023
                                                                                                         Account:    **            4




                                   Regarding Susan Marano's Fifth Third Mortgage Loan

      Dear Rebbecca Goodall:


     Thank you for the letter you sent to the Bank regarding your client's Fifth
                                                                                  Third
     feedback is very important to US as it allows us to better understand how we can mortgage loan. Your
     our customers.                                                                   improve our service to

     A review of our records indicates that your client contacted us for hardship assistance on
     2032, for her mortgage loan ending in 714 On November 14, 2022, we received                  November 10,
     assistance. As we needed additional information, a notice titled Your              a partial application for
                                                                                    Homeowner's Assistance
     Apolication: Action Required was mailed to Ms. Marano's address on November
                                                                                      17, 2022, requesting the
     following items:

          -The Uniform Borrower Assistance (UBA) must be completed and include: 1) all income,
              expenses, and assets for each borrower, 2) an explanation of financial hardship
              difficult to pay the mortgage, and 3) your acknowledgement and agreement
                                                                                                that makes it
              that you provide is true and accurate.                                      that all information
              The declaration page from the borrowers Homeowners Insurance company
                                                                                          showing insurance
              coverage on the property, amount of coverage and the amount of the deductible,
    On November 28, 2022, we received the additional page of the hardship application.
    receive documentation from your client until December 14, 2022, when we had             We continued to
                                                                                    suffcient information to
    consider the application complete and move forward with our review of her file. Please note
    enclosed letter dated December 14, 2022, explains, additional information may                that as our
    evaluated the hardship options available. During the review of Ms. Marano's file, be was needed as we
    additional information was needed.                                                   it      determined

    On January 6, 2023, the enclosed letter titled Your Homeowner's Assistance
                                                                                Application: Action Required
    was mailed to the address on file requesting additional information, including a letter that detailed the
    hardship experienced by your client. This information was received on January 17, 2023.

    On February 15 2023 an additional noticed tiied Your Homeowner's Assistance
    Required was mailed to the address on file requesting income information as well Application: Action
    client to contact us. On March 3, 2023, we verbally confirmed with your client
                                                                                    as a request for your
    documentation was required to move forward with our review. Several attempts that updated income
                                                                                   were made to contact
    Fifth Third Bank, National Association. Member FDIC. @ Equal
                                                                 Housing Lender. Fifth Third and Fifth Third Bank are registered
    service marks of Fifth Third Bancorp.
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    FIFTH THIRD BANK
      your client via telephone, however, our efforts to speak
      were unsuccessful.                                       with her or obtain the necessary documentation

      As a result, on March 21, 2023, a letter was
      to obtain the information necessaly to
                                                   sent to the address on file stating the Bank has not been
                                                 evaluate the request for assistance and                     able
      application for assistance was closed. If your client                                    our review of her
                                                             would like to contact our Homeowners Assistance
      Department to discuss options that may be available,
      4578, Monday through Friday 8 a.m. to 5                they can be reached at telephone number 855-736-
                                                      p.m. ET. We encourage Ms:. Marano to contact            our
      Homeowner's Assistance Department as soon as possible,
      her and possibly begin a new application for                 so that we can discuss available options with
                                                   assistance.
      It should be noted that our letters dated November
                                                            17, 2022, January 6, 2023, and February 15,
     explain that any collection activity is not suspended                                                 2023,
                                                              whlle
     addition, the Frequently Asked Questions enclosed with the reviewing an application for assistance. In
     the borrower remains öbligated to remit timely monthly        Mortgage Assistance Application explain that
     reported in accordance with the requirements of the       payments  and the delinquency of the loan will be
                                                            Fair
     this may cause; however, we are required to report accurate
                                                                 Credit Reporting Act. We regret any frustration
                                                                    information to the credit reporting agencies,
     and we cannot accommodate your request to change prior negative
     error occurred. Additionally, we are unable to honor your               reporting, in cases where no bank
     client's loan, as these fees were not assessed in error.    request to remove any of the late fees on your

     If you would like to contact the credit reporting agencies
                                                                directly, their contact information can be found
     below:

     Equifax                  800-685-1111
     Experian                 888-397-3742
     TransUnion               800-916-8800
     Innovis                  800-540-2505
     Thank you for your patience while we researched this matter for you. If Icould be
     you, please contact me directly at 513-358-0464, or toll free at 866-360-5353, of furtherassistance    to
     a.m. to 5 p.m., ET.                                                            Monday through Friday, 8




     rn
     Sincerely,




    Nathan G
    Office of the President

    Enclosed: Previous Response, Homeowners Assistance Application:
    Closure Letter                                                  Action Required letters (3), and




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                             EXHIBIT
                             EXHIBIT 11
                                     11
I#: 2023131303
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                 BK: 22446 PG: Document         at01/28/25
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                                        57
                                                   10:35 AM,Page 51 of 121
                                                             RECORDING   1 PageID KEN
BURKE, CLERK OF COURT AND COMPTROLLER PINELLAS COUNTY, FL BY DEPUTY CLERK:
CLK102878
                                                       Case Number:23-006998-CI

Filing # 173417896 E-Filed 05/18/2023 07:43:00 AM


                               COURT OF THE
                              LBCOUNNY,
                                    FLORIDA
          Case No.
          Division

            FIFTH THIRDBANK, NATIONAL ASSOCIATION
                   Plaintiff,
            VS.

            SUSAN MARANO, et al.
                  Defendants.

                                                        NOTICE OF LIS PENDENS
          TO DEFENDANT(S):
          SUSAN MARANO
          SANDBAR TOWNHOMES HOMEOWNERS' ASSOCIATION, INC,; TIERRA VERDE COMMUNITY
          ASSOCIATION, INC.: UNKNOWN SPOUSE OF SUSAN MARANO
          UNKNOWN TENANTS/OWNERS 1,
          UNKNOWN TENANTS/OWNERS 2,
          UNKNOWN TENANTS/OWNERS 3,
          ALL OTHERS TO WHOM IT MAY CONCERN
                     You are notified of the institution of this action by Plaintiff against you seeking to foreclose a mortgage

          encumbering the following real property in Pinellas County, Florida:

                     LOT 7, SANDBAR TOWNHOMES, A SUBDIVISION ACCORDING TO THE PLAT THEREOF
                     RECORDED IN PLAT BOOK 101, PAGE 80, OF THE PUBLIC RECORDS OF PINELLAS COUNTY,
                     FLORIDA.

          with a street address of 751 PINELLAS BAYWAY S, #304, TIERRA VERDE, FL 33715.

                     DATED:     5/17/2023                          M. Scor
                                  David R. Byars Jenniter         7Florída Bar #59668
                                                 JScott@kasslaw.com
                                  FL Bar 114051 Attorney for Plaintiff
                                                          Kass Shuler, P.A.
                                                          1505 N. Florida Ave.
                                                          Tampa, Florida 33602-2613
                                                          (813) 229-0900 Fax (813) 229-3323
                                                          The Primary e-mail address for electronic service of all pleadings
                                                          in this case under Rule 2.516 is as follows:
                                                          ForeclosureService@kasslaw.com




            NOTICE OF LIS PENDENS                                                                                PINELLAS COUNTY

                                                                                                                F078950/2321756/dmo
                                                                                                                              Page 1




***ELECTRONICALLY FILED 05/18/2023 07:42:58 AM: KEN BURKE, CLERK OF THE CIRCUIT COURT PINELLASCOUNTY***
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                             EXHIBIT
                             EXHIBIT 12
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  Fifth Third Bank
  5001 Kingsley Drive
  MD 1MOB19
  Cincinnati OH 45227
                                                                                                                                     3
                                                                                                                    FIFTH THIRD BANK
  SUSAN MARANO
  751 PINELLAS BAYWAY S APT 304
  TIERRA VERDE, FL 33715
                                                                                           Date:                    June 9, 2023
                                                                                           Account:                   REDA
                                                                                                                         ED
                                                                                           Property:                751 PINELLAS BAYWAY S
                                                                                                                    APT 304
                                                                                                                    TIERRA VERDE, FL,33715



                                Important Information Regarding Your Mortgage Modification

  Dear SUSAN MARANO,

  Life brings challenges, and we try to provide assistance to our customers whenever possible. Based on our
  review of your mortgage loan (above), we are offering you an opportunity to participate in a Trial Period Plan for
  modifying your loan.

  The Trial Period Plan is the first step in qualifying for more affordable mortgage payments and/or more
  manageable terms. This offer has been determined to be the option available to you based upon:

         Your request for assistance;
         Our review of your account based on this request;
       eYour application which is considered complete; and,
         Our review of all information required within your application and which was provided by you.

  To complete ourreview of your request forapplication, we may have ordered a valuation of the property-either                                   a
  Broker's Price Opinion (BPO) or Automated Valuation Model (AVM). Both are independent tools that help
  determine property value and an estimated sale price by analyzing the property against other comparable
  properties. If a new AVM or BPO was obtained, we will provide you with a copy before the modification is
  completed.

  Please take time to read the information below so that you know how to successfully complete the Trial Period
  Plan to permanently modify your mortgage. If you have any other mortgage loans secured by the same
  property, we strongly suggest that you contact the servicer(s) of the other loan(s) to discuss any
  additional options for assistance that may be available to you.
  Proposed modification terms
  Successfully completing the Trial Period Plan requires that you make all payments by the due dates. After that
  you will:
              Submit signed copies of your modification agreement to us.
              Receive a modification with an interest rate of 2.875%. This rate will be fixed for 40 years from the
              effective date of the modification.

  The modified loan enables you to defer, or delay, paying a certain amount of the amount you owe. If the unpaid
  balance of your mortgage is more than the value of your home:
         You will be eligible to have up to 30% of your principal balance deferred.
         The deferred amount will not be subject to any interest rate charges.
         The deferred principal amount will not be due and payable until the earlier of (i) the end of the 40-year
         term of the modified mortgage, (ii) any sale or transfer of your interest in the property, or (ii) a refinance of
         your mortgage loan.



  LIDN 3010
  Fifth Third Bank, National Association.MemberFDIC.    Equal Housing Lender. Fifth Third and Fifth Third Bank are registered service marks of
  Fifth Third Bancorp.
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  What you need to do
  Please follow all instructions below:

            Stop the foreclosure process (suspension of foreclosure)
            To have us delay referring your mortgage to foreclosure or suspend existing foreclosure proceedings, you
            will need to:

                 Accept this offer no later than 06/24/2023. To accept, call us at 855-736-4578 or send a letter to:

                                              Fifth Third Bank
                                              5001 Kingsley Drive
                                              MD 1MOB17 Attn: Loss Mitigation
                                              Cincinnati OH 45227

                                                            OR

                 Make your first trial period payment by 06/24/2023, which is earlier than the scheduled due date
                 stated below.
            Important: If you do not respond by June 24, 2023, we may continue with the foreclosure process, and a
                                                                      a
            foreclosure sale may occur. This offer will be revoked if foreclosure sale occurs, even ifthe sale occurs
            prior to the first trial period payment due date stated below.

            Make trial period payments
              To successfully complete the Trial Period Plan, you must make the trial period payments below:

                Trial Period Payment Number            Trial Period Payment           Due Date On or Before
                              1                              $1,721.87                     07/01/2023
                              2                              $1,721.87                     08/01/2023
                              3                              $1,721.87                     09/01/2023

                 If we do not receive payment by the last day of the month it is due, this offer will be revoked.
                 Foreclosure proceedings may continue, and a foreclosure sale may occur.

                 Submit your payments using one of these methods:

                 Online:          At 53.com, initiate a payment to the account noted above. Use the
                                  "Other Amount" option to make the required payment.

                 Phone:           Call REDACTEDMonday through Friday, 8 a.m. to 5 p.m., ET
                 (one-time        Please have your account and routing numbers ready.
                 payment)         There may be a fee associated with this transaction.

                 Mail:            Fifth Third Bank
                                  5001 Kingsley Drive
                                  MD 1MOB17 Attn: Loss Mitigation
                                  Cincinnati OH 45227

                 in Person:       Visit any Fifth Third branch.


                 Note: If you are currently using Fifth Third Bank's Auto BillPayer°service for your mortgage
                 payments, you will need to suspend this service by calling 800-837-2000 until your loan is fully
                 reinstated.




  LIDN   3010                                                                                                          2
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  Modification terms
  The table below compares your current mortgage terms to the estimated modified terms.

                                                           Current Terms                   Modification Terms
                      Payment                                $2,085.42                         $1,721.87
                      Interest Rate                           2.875%                            2.875%
                      Term                                      340                               480
                      Maturity Date                           02/01/2051                      09/01/2063
                      Deferred Principal                         $0.00                           $0.00
  1Payment includes principal, interest, and escrow payment, ifapplicable. For more information on the estimated modification payment amount,
  review the Frequently Asked Questions enclosed.
  2Formore information on deferred principal, review the Frequently Asked Questions enclosed.

  Next steps
         Once you have successfully made each of the payments above by the due dates, your modified terms will
         take effect only after:
             You have signed and submitted your loan modification agreement (which we will send to you after the
             completion of the Trial Period Plan);
             We have signed the loan modification agreement and returned a copy to you upon completion of the
                Trial Period Plan; AND
                The modification effective date set forth in the loan modification agreement has occurred.

           Be sure to thoroughly review the enclosed FAQs (Frequently Asked Questions) and Additional Trial Period
           Plan Information and Legal Notices documents.

           We reserve the right to revoke this offer or terminate the plan following your acceptance if we learn of
           information that would make you ineligible for the Trial Period Plan.

           We must receive each payment in the month in which it is due. If you miss a payment or do not fulfill any
           other terms of your trial period, this offer will end, and your mortgage loan will not be modified.

           Please note that except for your monthly mortgage payment amount during the trial period, the terms of your
           existing loan and all mortgage requirements remain in effect and unchanged during the trial period.

  How to reach us
   you have questions about any of this information, please contact us at 855-736-4578, Monday through Friday, 8
  If
  a.m. to 5 p.m., ET.

  Remember, it's important to respond as quickly as possible. We look forward to hearing from you.


  Sincerely,

  GüMdm
  Glenn Meadows
  Senior Vice President

  Enclosures
        Frequently Asked Questions
        Additional Trial Period Plan Information and Legal Notices


  BANKRUPTCY NOTICE: To the extent your original obligation was discharged, or is subject to an automatic stay of
  bankruptcy under Title 11 of the United States Code, this letter is for compliance and/or informational purposes only
  and does not constitute an attempt to collect a debt or to impose personal liability for such obligation. However,
  Creditor retains rights under its security instrument, including the right to foreclose its lien. Any negotiations or

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  arrangements entered into do not constitute a waiver of your discharge, an attempt to collect against you personally
  or an attempt to revive your personal liability for the debt.




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                                                                                                      FIFTH THIRD BANK

                               Additional Trial Period Plan Information and Legal Notices


     We will not proceed to foreclosure sale during the trial period, provided you are complying with the
     terms of the Trial Period Plan.

              Any pending foreclosure action or proceeding that has been suspended may be resumed if you fail
              to comply with the terms of the Trial Period Plan or do not qualify for a permanent modification.
              You agree that we will hold the trial period payments in an account until sufficient funds are in the
              account to pay your oldest delinquent monthly payment. You also agree that we will not pay you
              interest on the amounts held in the account, unless required by applicable law. If any money is left
              in this account at the end of the Trial Period Plan and you qualify for a loan modification, those
              funds will be deducted from amounts that would otherwise be added to your modified principal
               balance.

              Our acceptance and posting of your payment during the trial period will not be deemed a waiver of
              the acceleration of your loan (or foreclosure actions) and related activities, and shall not constitute
              a cure of your default under your loan unless such payments are sufficient to completely cure your
              entire default under your loan.

              You must continue to make the trial plan payment amount listed in your trial plan agreement until
              the executed loan modification documents have been signed and returned.
     Ifyou were not required to include escrows for taxes and insurance in your original monthly
     payment, you are now required to do so:

              You agree that any prior waiver that allowed you to pay directly for taxes and insurance is revoked.

              You agree to establish an escrow account and to pay required funds into that account, unless not
              allowed by applicable law.

     Your current loan documents remain in effect; however, you may make the trial period payment
     instead of the payment required under your loan documents:
     You agree that all terms and provisions of your current mortgage note and mortgage security instrument remain
     in full force and effect and you will comply with those terms; and that nothing in the Trial Period Plan shall be
     understood or construed to be a satisfaction or release in whole orin part of the obligations contained in the loan
     documents.

     We reserve the right to revoke this offer or terminate the Trial Period Plan following your
     acceptance if we learn of information that would make you ineligible for the Trial Period Plan or
     loan modification.
     In this case, we may exercise any of the rights and remedies provided by the loan mortgage documents and
     applicable law.

     Your mortgage will not be modified if you sold or transferred any interest in the property in
     violation of your mortgage loan documents.




     LIDN 2035
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     service marks of Fifth Third Bancorp.
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                                                                                                            FIFTH THIRD BANK
                                             Frequently Asked Questions
  What else should I know about this offer?
         Your state Housing Finance Agency (HFA) may be participating in a program using federal Hardest Hit
         Funds to assist qualified homeowners to pay down a portion of the unpaid principal balance of their
         mortgage loans (HFA Program).
              If you are eligible and qualify for the HFA Program and make your trial period payments on time, upon
              our receipt of the HFA Funds we will apply such funds to the amount you owe on your mortgage loan.
              If we do not receive the HFA Funds and you otherwise qualify for the modification, we may still offer
              you a modification.
              Because there could be income tax consequences related to payment of your debt obligation by a
              third party, we encourage you to seek guidance from a tax professional.
         If you make your new trial period payments on time, we will not conduct a foreclosure sale.
         You will not be charged any fees for this trial period plan or a permanent modification.
         If your loan is modified, we will waive all unpaid late charges.
         We will continue to report the delinquency status of your loan to consumer reporting agencies as well as
         your entry into a trial period plan in accordance with the requirements of the Fair Credit Reporting Act and
         the Consumer Data Industry Association requirements. (For those impacted by a FEMA*-declared
         disaster area eligible for individual assistance, see If your Trial Period Plan is related to an eligible
         disaster' below.)
              Although consumer reporting agencies generally consider the entry into a trial period plan and loan
              modification an increased credit risk, it is important to point out that continued delinquency, including
              a foreclosure, would have an even more negative impact to your credit score.
              Once your loan is modified, you will be considered current on your mortgage and your credit score
              may improve as long as you make your payments on time.
              For more information about your credit score, go to: consumerfinance.gov/consumer-tools/credit-
              reports-and-scores
  What is a trial period?
  Atrial period plan is a temporary payment relief period that allows you to demonstrate that you can consistently
  manage the estimated modified mortgage payment. Your existing loan and loan requirements remain in effect and
  unchanged during this time.

  How does the modification work?
        A loan modification changes some of the terms of your mortgage, such as monthly payment, interest rate,
        and maturity date, which may make your payment more affordable. You will repay the new, interest-
        bearing mortgage balance in equal monthly payments over the modified term.
        To permanently modify your mortgage:
             You must first successfully complete the trial period plan. Your modified mortgage payment will be
             based on the interest-bearing, unpaid principal balance as of the end ofthe trial period and may be
             somewhat different than the trial period plan payment, which is an estimate of your modified
             mortgage payment.
             Once you make all of your trial period payments on time and meet all of the terms in this trial period
             plan, you must sign and return the loan modification agreement.
             Once we determine you have complied with the trial period plan requirements, we will sign/accept the
             loan modification agreement and return a copy for your records.
        If you are eligible and qualify for the HFA Program after making all of your trial period plan payments on
        time and otherwise remain eligible for a loan modification, we will apply the HFA Funds once we receive
        them in this order:
             First, to reduce accrued and unpaid interest on our mortgage loan and any other past due amounts
             advanced by us under the terms of the mortgage.
             Then, to pay down a portion of the unpaid principal balance of the mortgage loan.
             If we do not receive the HFA Funds, we will offer you a modification without HFA Funds if you remain
             eligible for the modification.

  LIDN 2036
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  of Fifth Third Bancorp.
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                                                                                              FIFTH THIRD BANK
                                         Frequently Asked Questions
  *Federal Emergency Management Agency

  Will my interest rate and principal and interest payment be fixed after my loan is permanently modified?
  If your loan is modified, your interest rate and monthly principal and interest payment will be fixed for the life of
  your mortgage.
         Your new monthly payment may also include an escrow for property taxes, hazard insurance and other
         escrowed expenses unless its inclusion is prohibited by applicable law.
         If the cost of your homeowners insurance, property tax assessment or other escrowed expenses
         increases, your monthly payment will increase as well.
  What is deferred principal?
  Deferred principal is a portion of the unpaid mortgage balance for which repayment is delayed.
         If your modified terms include deferred principal, your due date for this amount would be the earliest of
         1) The date you sell or transfer the property;
         2) The date you refinance the modified mortgage;
         3) The date you pay off the interest-bearing unpaid principal balance of the modified mortgage; or
         4) The new maturity date of the modified mortgage. Interest is not charged on any deferred principal.
  Why do l need to contact you within 14 days? (IMPORTANT)
  If your mortgage has already been, or is about to be, referred to foreclosure, contacting us within 14 days will stop
  the foreclosure process.
           You can also stop the foreclosure process by sending the first trial period plan payment within 14 days of
           the date of this letter, which is earlier than the due date for the first trial period plan payment in the
           attached trial plan documents.
           If your mortgage has already been referred to foreclosure, a foreclosure sale may occur if you do not
           contact us or send the first trial period plan payment within 14 days of the date of this letter.
           You may also incur additional expenses related to foreclosure if you do not contact us or send the first
           trial period plan payment within 14 days of the date of this letter.

  Can I still receive a modification if I do not contact you or send the first trial period plan payment within
  14 days?
  Yes, except in the limited circumstances where a foreclosure sale occurs before the due date of the first trial
  period plan payment.
          However, you must make each of the trial period plan payments on time and then sign the final
          modification agreement as required in the attached trial plan documents.

  What if I acquired an ownership interest in the property through death, divorce, or legal separation?
  You should contact us as soon as possible because we can help you during these events with details such as
  where to send the mortgage payments.
      4




          Please contact us to discuss next steps and to obtain a list of documentation that is needed to confirm
          your identity and ownership interest in the property.




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                                                                                            FIFTH THIRD BANK
                                      Frequently Asked Questions
  What if I need further assistance?
  You can contact us any time at 855-736-4578, especially if there are any other events that may prevent you from
  making your mortgage payments. In the meantime, there are other resources available to you:
          The U.S. Department of Housing and Urban Development (HUD) approves housing counseling agencies
          that offer foreclosure prevention and debt management information free of charge, and may be able to
          provide translation or other language assistance. For a list of these resources, contact one of the
          following federal government agencies:
               The U.S. Department of Housing and Urban Development (HUD) at 800-569-4287 or
               hud.gov/counseling
               The Consumer Financial Protection Bureau (CFPB) at 855-411-2372 or
               consumerfinance.gov/mortgagehelp
          For additional information on how to avoid foreclosure, including help for military servicemembers,
          please visit Fannie Mae (the Federal National Mortgage Association) online at KnowYourOptions.com or
          Freddie Mac (the Federal Home Loan Mortgage Corporation) online at myhome.freddiemac.com
          If you have been affected by a disaster event, please call Fannie Mae's Disaster Response NetworkTM
          at 877-833-1746 or visit Fannie Mae's Know Your Options IM website at KnowYourOptions.com
  Do I have to modify my loan into a 480-month (40-year) fixed rate term?
  Yes, unless you have been affected by a FEMA-declared disaster area eligible for individual assistance. (See "If
  your trial period plan is related to an eligible disaster“ below.)
           A 480-month repayment term results in a lower modified monthly payment than would be available under
           a shorter term.
           The modified mortgage does not have any penalty if you pay off your mortgage earlier than the new
           maturity date.
           For more information on options for paying off your mortgage early, please contact us at 855-736-
           4578, Monday through Friday, 8 a.m. to 5 p.m., ET.

  If your trial period plan is related to a FEMA-declared disaster area eligible for individual assistance,
  please note the following:
  If your offer is a 40-year term and you were affected by a FEMA-declared disaster area eligible for individual
  assistance:
                 You may qualify for a modification with a term that is less than 40 years.
                 If you believe you can afford a monthly payment that is similar to your current monthly principal and
                 interest payment, you may be eligible for a modification that extends the term of your loan just long
                 enough to cover any missed payments during the forbearance period. For more information about
                 this modification option, please contact us immediately at 855-736-4578.
           We will not report the delinquency status of your loan or your entry into a trial period plan to consumer
           reporting agencies during the trial period as long as you are paying in accordance with the terms of this
           trial period plan. Consumer reporting agencies may consider whether there is an increased credit risk due
           to the lack of reporting. We cannot be certain on the impact on your credit score, particularly if you are
           current on your mortgage or otherwise have a good credit score.
           For more information about your credit score, go to: consumerfinance.gov/consumer-tools/credit-
          reports-and-scores




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                             EXHIBIT 13
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 g


                                                              June 15, Z023



       Via Certified Mail Ratur Receint:
       Fifth Third Bank
       5001 Kingsley Drive
       MD 1MO817 Attn: Loss Mitigation
       Cincinnati, OH 45227

       6/16/2023

                Re:Susan Marano
                Property Address: 751 Pinellas BaywayS,Apt304,Tierra Verde, FL 33715
                Loan No. -7144

        1, Susan Marano, hareby accept you loan modification offer dated June 9, 2023. I am acceptins your
       offer in wrting per the instructions in your letter and will meke three payments of $1,721.87 on 7/1/23,
       8/1/23, and 9/1/23.

       ham aware that you have filed a foreclosure and request that you communicate with your legal counsel
        to have all proceedings suspended.
                                                              Thankypu,



                                                              Susen Marano
       StateofFlorida,
       County -Pioeltas
                Strom te ggd tibscribad befere me tas lk dayar    Lune  202s      wSusan Mazeno
        by meany of t physical presence or DIonline notariation, this ilo day of       ne, 2023, by
      Susan                                                                           Lcense as
                                                                                IDnuers
                         ONO who is personally known to me or who produced @brivuerS
       Identification and who (did) (did not) take an oath.

                     VERONSCA MELENDEZ                                                                             e
                     Notary Publkc
                     State of Rorida
                     Comiti HH209120                          Ioroninpielende
                     Spires 12/16/2025
                                                              Notary Public

       [NOTORIALSEAL)

       My commission Expires:   Rhu/025
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                             EXHIBIT
                             EXHIBIT 14
                                     14
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           4    Fifth ThirdBank        70
                MADISOMILLE OPS CENTERMOIHOCZN.
                                              COS149
                CINCINNATI, OHX0 45263-5300

                                              000028
                                000217

       Harfintgft-Whffihägtughbifböüßttiß@häititge
               SUSAN MARANO
                                  S
               751 PINELLAS BAYWAY APT, 304
                           R
               TIERRA VERDE,   99715-1845




                                                             Date: RED
                                                             Account: REDACTED
               Your Mortgage Loan Modification Agreement Has Been Completed
      Dear;SUSAN         MARANO


       We wish to inform you that your mortgage loan modification has
       been completed.
       Please be aware that effective 12/01/23, your principal and
       interest payment will be $997.84
      account, your total payment may be higher.
                                                If you have an escrow
       If your payments are automatically deducted from your Fifth Third
      account or you use Auto BillPayer for making your payment, your
      new payment amount will be adjusted automatically However,1f
      your mortgage payment is deductedautomatically from your
      account by another institution, please contact that institution
      immediately to have the change made
      Please make sure to update your records with thesechanges.
       Weire here to help
      If you have any questions,  you can message us 24/7 online
      our mobile app, or call us at 800-972-3030, Monday throughthrough




0036163500002
       Friday, 8 a.m. to 6 p.m., ET.
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                             EXHIBIT 15
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                                                                                                                      Mortgage Loan Statement
                                                                                                                       STATEMENT DATE: 11/20/2023
                          FIFTH THIRD BANK
                                      CONTACT US: 800-972-3030
                                                                                                ACCOUNT NUMBER                                                                          REDAC
                                                                                                                                                                                        S APT 304
                                                                                                                                                           751 PINELLAS BAYWAY
                                      24-Hour Automated Service                                  Property Address
                                                                                                                                                                         TIERRA VERDE FL 33715
                                      53.com                                                     PAYMENT DUE DATE                                                                   12/01/2023
                                      See back for additional information.                       AMOUNT DUE                                                                        $1,639.59
                                                                                                            (If payment is received alter 12/16/2023, $0.00 latefee will be charged.)
  ACCOUNT INFORMATION                                                                            EXPLANATION OF AMOUNT DUE
  Outstanding Principal Balance                                             $284.433.56          Principal                                                                                $316.38
  Escrow Balance                                                                 $217.71         Interest                                                                                 $681.46
  Interest Rate                                                                  2.875%          Escrow                                                                                   $641.75
                                                                                     No          Optional Insurance                                                                         $0.00
  Prepayment Penalty
                                                                                                 Regular Monthly Payment                                                                 $1,639.59
                                                                                                 Late Charges                                                                                $0.00
  PAST PAYMENTS BREAKDOWN
                                                                                                 Other Fees                                                                                  $0.00
  Description            Paid Last Month                            Pald Year to Date
                                                                                                 Past Due Payments                                                                           $0.00
  Principal                       $517.54                                      $1,548.91
                                                                                                 TOTAL AMOUNT DUE                                                                        $1,639.59
  Interest                        $644.16                                      $1.936.19         *Other Fees may include inspection fees, appraisal fees etc., as required during the
                                                                                                 course of servicing your loan.
  Escrow (Taxes & Insurance)                         $1,554.94                 $3,402.38
  Fees                                               $1,380.00                 $1,380,00
                                                          $0.00
                                                                                                                  Go Paperless with Electronic Statements!
  Late Charges                                                                     $0.00
  Partial Payment(Unapplied)                           -$994.77                $1.721.87        Would you rather receive your statements online? Log in to online banking
  Total                                              $3,101.87                 $9,989.35        today to receive your statements online. Don't have online banking access? No
                                                                                                problem, give us a call at 800-972-3030 to getstarted today.
  Partial Payments: Any partial payments that you make are not applied to your mortgage.
  but instead are held in a separate unapplied funds account. When you pay the balance
  of the payment, the funds will then be applied to yourmortgage.                                Is Now the Time to Refinance?
  BANKRUPTCY NOTICE: To the extent your original obligation was discharged, or is
  subject to an automatic stay of bankruptcy under Title 11 ofthe United States Code, or         This could be a greattime to relinance and lower your payment, shotten your loan term or
  you have interestin the property as a successor in interest, this statement is for             perhaps take cash aut for importanthome improvements. For more information, please
  compliance and/orinformational purposes only and does not constitute an attempt to             visit your local Fitth Third branch or call 866-351-5353.
  collect a debt or to impose personal liabilityfor such obligation. However, Greditor
  retains rights under its security instrument, including the right to forecloseits lien.        Loans subject to credit review and approval Fifth Third Bank, National Association, 38
  NOTICE: This statement is for compliance and/orinformational purposes onlyand                  Fountain Square Plaza, Cincinnati, OH 45623,NMLS#403245.
  does not constitute an attempt to collect a debt.

  TRANSACTION ACTIVITY
                                             Date                         Payments                            Interest                                                     Fens
  Transaction Description Due Date          Posted        Charges                           Principal                            Escrow          Late Charges                           Unapplied
  MORTGAGE PAYMENT            01/01/2023 10/03/2023               $0.00        $2,085.42         $517.54              44.16           $923.72                    0.00          $0.00      -$2,085.420
                                                                                                                        $0.00                                                  0.00




00363756005567
  UNAPPLIEDCREDIT                         10/30/2023              $0.00            $0.00  $0.00            $0.00                                                 $0.00                     $1.721.87
                                         PLEASE RETURN THIS PORTION WITH YOUR CHECK PAYABLE TOFIFTH THIRD BANK NATIONAL ASSOCIATION


                                                                                             0300587144513360004000016395900001639599
                            FIFTH THIRD BANK
                            MD 1MOBAH
                            Cincinnati OH 45263-5300                                                                          Account Number                                           REDAC
                                                                                                                              Payment Due Date                              12/01/2023
                                                                                                                              Amount Due                                     $1,639.59
                            gp           üUggäghtudhthähdhußukll                                                              If paid after this date,                      12/16/2023
                                                                                                                              Then pay                                       $1,639.59
                            SUSAN MARANO
5587                        751 PINELLAS BAYWAY S APT 304
                                                                                                                                  ($0.00 late fee will be charged after 12/16/2023)

10N1/                       TIERRA VERDE FL 33715
                                                                                            5567

20231121/
                                                                                                                                            Amount Due             $
                                                                                            5567                       (including late fees If applicable)

/
                                                                                                                                                                                                     ST
                                                                                                                                              Additional
                                                                                                                                               principal

/
FTBW                        FIFTH THIRD BANK
                                                                                                                                              Additional
                                                                                                                                               eSCrow
                                                                                                                                                                  $

                                                                                                                                                                                                     /
                            PO BOX 630412
                                                                                                                                                             $
MTG301
                            CINCINNATI OH 45263-0412
                                  hbt
                                                                                                                          Total amount enclosed
                                                                                                                                                                                                     LOAN
                                                                     bhb
                                                                                                                                                                                                     MG
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  How to Pay Your Mortgage Bill:                                                             How to Reach Us:
  Call, click, tap, mail or visit.                                                           Call or write.
                                                                                                         Questions about Your Account:
             Set Up Automatic Payments: Fifth Third Auto BillPayer@: Have
             your payment automatically deducted each month from any checking
             account. Enroll today at 800-837-2000. if the due date faiis on a
                                                                                              2          Call 800-972-3030

             weekend or holiday, your payment will be deducted the business day                          Mortgage Counseting and Assistanceif you are experiencing a
                                                                                                         financtal hardahlp and need to speak with someone, please contact
             prior to the weekend or hollday.
                                                                                                         us at 866-501-6391. To submit a hardship application online, visit
             Make Your Payment Online:If you're a Fiflth Third checking or                               53.com/mortgagerelief. There is also additional counseling or
             savings customer, you can easily transfer funde Irom your Firih Third                       ssielancs ovatiable Ihrough the U.S. Department of Housing and
             account and apply itto your mortgage. Simply visit 53.com and get                           Urban Development (HUD). For a list of homeownership counselors
                                                                                                         or counseling organizations in your area, goto
             started. If you do not have internet Banking access, call us at
             800-972-3030.                                                                               http://www.hud.gov/offices/hsg/sfh/hec/hes.cfm or call
                                                                                                         800-569-4287.
             Mobile Banking: Make your monthly payments anytime, anywhere by                             Consumer Reporting Disputes, Requests for Information and
             using our mobile banking App. Download the app for(Phoneand                                 Notices of Error: We may report information about your account to
             AndroldM smartphones directly from the App Store or Gcogle Play. Or                         the consumer reporting agencies. Late payments, missed payments,
             text mobile" to 535353 and receive a link to get the app. For more                          or other defaults on your account may be reflected in your credit
             information visi 53.com or call 800-972-3030.                                               report. If ypu would liketo dispute any information about theseitems,
                                                                                                         or if you would like to submit an information requestor a notice of
             Send a Check: FIFTH THIRD BANK, PO BOX 630412, CINCINNATI,                                  error, please write to us. Claarly state the specific information that is
             OH 45263-0412. Please make check payable to Fifth Third Bank,                               being requested. For credit bureau disputes or notices of error, also
             National Association and be sure to include your loan number.                               nclude your reason for the dispute and provide supporting
                                                                                                         information. Include your name, address and loan number on all
             In Person:Visit any Fifth Third banking center to make your payments                        written correspondence.
             in person.
                                                                                                         Send the information listed above regarding disputes,errors or
             Pay by Phone: Call an agentat 800-972-3030 to make a payment over                           requests for information to:
   2e        the phone, Monday through Friday, 8 a.m. to6p.m. ET. There may be a
             fee for this option where legally permitted.                                                           FIFTH THIRD BANK
                                                                                                                    5050 Kingsley Drive
                                                                                                                    MD 1MOCFP
  How to Access Your Mortgage Information:                                                                          Cincinnati, OH 45263
  Go online or give us a call.
                                                                                                         Request a Payoff:
             Visit Us Online:As a Fith Third customer with Internet Banking
             access, you can view your account activity online al 53.com. Simply log
                                                                                              2          Call 800-972-3030

             in to Internet Banking, and under MY ACCOUNTS click on your                                 Questions about Homeowner's Insurance:
             mortgage loan. Dont have Internet Banking access? No problem, give              28
                                                                                                         Call 855-388-9260
             us a call at to get started today.                                                          Fax 440-424-5319
                                                                                                         Website: www.expressinsuranceinfo.com/3142240
             Give Us a Call: Customer Service Professionals are here for you
             Monday through Friday, 8 a.m. to6 p.m. ET. FiRth Third'sautomated
             phone service is available 24 hours a day, 7 days a week. Simply call                       Questions about Real Estate Taxes:
             800-972-3030 and have your account number avallable to access your                          Call 800-972-3030
             account information.

                                                                                                           Go Paperless with Electronic Statementsi

                                                                                            Would you rather regeive your statements online? Log in to Internet
                                                                                            Banking today to receive your statements online. Don'thave internet
                                                                                            Banking access? No problem, give us a call at 800-972-3030 to get started
                                                                                            today.




Fifth Third Bank, National Assocation. Merber FDIC.   Equai Housing Lender. Fifth Third and Fifth Third Bank are regstered service marks of Fifth Third Bancorp.




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       Case 8:25-cv-00232-TPB-TGW                                Document 1-1                Filed 01/28/25               Page 68 of 121 PageID
                                                                         74

                                                                                                             Mortgage Loan Statement
                                                                                                             STATEMENT DATE: 11/20/2023

                       FIFTH THIRD BANK
                                 CONTACT US: 800-972-3030
                                 24-Hour Automated Service                                       ACCOUNT NUMBER
                                                                                                                                               REDAC
                                 53.com


  TRANSACTION ACTIVITY
                                        Date       Charges        Payments                        Interest       Escrow        Late Charges    Fees
   Transaction Description Due Date    Posted                                    Principal                                                                    Unapplied
  ESCR DISB TAXES                     11/07/2023         $0.00      -$5,111.87           $0.00           $0.00    -$5,111:87           $0.00          $0.00         $0.00
  UNAPPLIED DEBIT                     11/10/2023         $0.00           $0.00           $0.00          $0.00         $0.00            $0.00      $0.00           -$631.22
  ESCR BAL CREDIT                     11/10/2023         $0.00         $631.22           $0.00          $0.00       $631:22           $0.00       $0:00             $0.00
  LOAN MOD WRITE-OFF                  11/10/2023       -$20.00           $0.00           $0.00          $0.00         $0.00           $0.00      $20:00             $0.00
  LOAN MOD WRITE-OFF                  11/10/2023       -$20.00           $0.00           $0.00          $0.00         $0.00           $0.00      $20.00             $0.00
  LOAN MOD WRITE-OFF                  11/10/2023       -$20.00           $0.00          $0.00           $0.00         $0.00           $0 00      $20.00             $0.00

         WRITE-OFF
  LOAN MOD                            /10/2023         $20.00            $0.00          0 00            $0.00           0.00          $0.00      $20.00             50 00
  LOAN MOD WRITE-OFF                  11/10/2023       -$2000            $0.00           $0.00          $0.00         $0.00           $0.00      $20.00             $0.00
  LOAN MOD WRITE-OFF                  11/10/2023       -$30:00           $0.00           $0.00          $0.00         $0.00           $0.00      $30.00             $0.00
  FCL ATTORNEY FEES                   11/13/2023         $0.00       $1,380.00          $0.00           $0.00         $0.00            $0.00   $1,380.00            $0.00
  INTEREST WO                         12/01/2023         $0.01           $0.00          $0.00           $0.01         $0.00            $0.00       $0.00            50.00
  LOAN MOD WRITE OFF                  12/01/2023       $52272            $0.00          $0.00           $0:00         $0.00         -$522.72       $0.00            $0 00
  MOD PRINCINCREASE                   12/01/2023    -$16,084 59          $0.00     $-16,084.59          $0.00         $0.00            $0.00          $0.00         $0.00
  LOAN MOD INT ADJ                    12/01/2023     $6,429.19           $0.00           $0.00      $6.429.19         $0.00            $0.00          $0.00         $0.00
  LOAN MODESC ADJ                     12/01/2023     $4.545.40           $0.00          $0.00           $0.00      $4,545.40           $0.00       $0.00            $0.00




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                Fifth Third Bank, National Association. Member FDIC.       lEqual Housing Lender. Fifth Third and Fifth Third Bank are registered service
Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 69 of 121 PageID
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                             EXHIBIT
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        Case 8:25-cv-00232-TPB-TGW                                       Document 1-1                   Filed 01/28/25                       Page 70 of 121 PageID
                                                                                 76

                                                                         a1e                                          Mortgage Loan Statement

                                                                            A
                                                                                                                       STATEMENT DATE: 12/01/2023
                          FIFTH THIRD BANK


                                                                           742                                                                                                                   REDAC
                                                                                                 ACCOUNT NUMBER
                                      CONTACT US: 800-972-3030                                                                                               751 PINELLAS BAYWAY S APT 304
                                      24-Hour Automated Service                                  Property Address
                                                                                                                                                                     TIERRA VERDE FL 33715
                                      53.com                                                     PAYMENT DUE DATE                                                                01/01/2024
                                      See back for additional information.                       AMOUNT DUE                                                                                  $1,639.59
                                                                                                            (If payment is received after 01/16/2024, $0.00                late fee will be charged.)

   ACCOUNT INFORMATION                                                                             EXPLANATION OF AMOUNT DUE
   Outstanding Principal Balance                                           $284,034.90           Principal                                                                      $317:34
   Escrow Balance                                                                $859.46         Interest                                                                       $680.50
   Interest Rate                                                                 2.875%          Escrow                                                                         $641.75
   Prepayment Penalty                                                                No          Optional Insurance                                                                $0.00
                                                                                                 Regular Monthly Payment                                                     $1,639.59
                                                                                                 Late Charges                                                                      $0.00
   PAST PAYMENTS BREAKDOWN
                                                                                                 Other Fees*                                                                       $0.00
   Description                            Paid Last Month           Paid Year to Date
                                                                                                 Past Due Payments                                                                $0:00 **
   Principal                                           $398.66              $1,947.57
                                                                                                 TOTAL AMOUNT DUE                                                            $1.639.59
   Interest                                            $681,46               $2,617.65           Other Fees may includeinspection fees, appraisal lees, etc, as required durng the
   Escrow (Taxes & insurance)                          $641.75               $4.044.13           course of servicingyourloan.

   Fees                                                  $0.00               $1,380.00
                                                                                                                  Go Paperless with Electronic Statements!
   Late Charges                                          $0.00                     $0.00
   Partial Payment(Unapplied)                      -$1.721.87                      $0.00
                                                                                                 Would you rather receive your statements online? Log into online banking
   Total                                                 $0.00               $9,989.35                                                                        t
                                                                                                 today to receive your statements online. Don have online banking access? No.
                                                                                                 problem, give us a call at 800-972-3030 to get started today.
   Partial Payments: Any partial payments that you make are not applied to your mortgage,
   but instead are held in a separate unapplied funds account. When you pay the balance
   of the payment, the funds will then be applied to your mortgage.                              Is Now the Time to Refinance?
   BANKRUPTCY NOTICE: Tothe extent your original obligation was discharged, or is
   subject to an automatic stay of bankruptcy under Title 11 ofthe United States Code, or        This could be a great time to refinance and lower ypur payment shortenyour loan term or
   you have interest in the property as a successor in interest, this statement is for           pethaps take cash out for importanthome improvements. Formore information, please
   compliance and/orinformational purposes only and does not constitute an attempt to            visit your local Fifth Third branch or call 866-351-5353.
   collect a debt or to impose personal liabilityfor such obligation. However, Creditor
   retains rights under its security instrument, includingtheright to foreclose its lien.        Loans subject to credit review and approval. Filth Third Bank. National Association, 38
   NOTICE: This statement is for compliance and/or informational purposes only and               Fountain Square Plaza, Cincinnati, OH 45623, NMLS# 403245.
   does not constitute an attemptto collect a debt.

   TRANSACTION ACTIVITY
   Transaction Description Due Date         Date                          Payments                                                                                                               Unapplied
                                           Posted         Charges                           Principal         Interest             Escrow         Late Charges                    Fees
  MORTGAGE PAYMENT            12/01/2023 10/30/2023              $0.00       $1,639.59           $316 38           $681.46             $64175                     $0.00                  $0.00      $1,639.59
                                                                 0.00                                                                                              00




0036710000942
  GURTAILMENT                             10/30/2023                            $82.28             $82,28             $0.00               $0.00                   $0                   50.00            $82 28
                                                                           CHECK PAYABLETO FIFTH THIRD BANK, NATIONAL ASSOCIATION
                                         PLEASE RETURN THISPORTION WITH YOUR

                                                                                             0300587144513360004000016395900001639599
                            FIFTH THIRD BANK
                            MD 1MOBAH
                            Cincinnati OH 45263-5300                                                                           Account Number
                                                                                                                               Payment Due Date
                                                                                                                                                                               REDAC
                                                                                                                                                                               01/01/2024

                            pdltdßuähgih h
                                                                                                                               Amount Due                                       $1,639.59
                                                                                    ublit                                      If paid after this date,                        01/16/2024
                                                                                                                               Then pay                                         $1,639.59
39997
/
                            SUSAN MARANO
                            751 PINELLAS BAYWAY S APT:304
                                                                                                                                     ($0.00 late fee will be charged after 01/16/2024)


/
10N4
                            TIERRA VERDE FL 33715
                                                                                            9424
                                                                                                                                            Amount Dun

2/ 0231202
                                                                                                                                                                       $
                                                                                            9424                         (including tate legsifappticable)




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 / TBW
                                                                                                                                                principal
 F                          FIFTH THIRD BANK
                            PO BOX 630412
                                                                                                                                               Additional
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MTG301 dodlebleßfuhßßlutnthte
                            CINCINNATI OH 45263-0412
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                                                                                                                           Total amount endiosed              $
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    Case 8:25-cv-00232-TPB-TGW                                      Document 1-1                    Filed 01/28/25                  Page 71 of 121 PageID
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  How to Pay Your Mortgage Bill:                                                                 How to Reach Us:
  Call, click, tep, mail or visit.                                                                Call or write.
              Set Up Automatic Payments: Fifth Third Auto BillPayer@, Have
              your payment automatically deducted each month from any checking
              account. Enroll today at 800-837-2000. If the due date falls on a
                                                                                                  2          REDACTED
                                                                                                             Call REDACT
                                                                                                                                 Your Account:


                                                                                                             Mortgage Counseling and Assistancedf you are experiencing a
              weekend or holiday, your payment will be deducted the business day
              prior to the weekend or hollday.                                                               financialhardehip and need to speak with someone, please contact
                                                                                                             us at 866-601-6391, To submit a hardship application online, visit
              Make Your Payment Ontinei:if you re a Fitth Third checking or                                  53.com/mortgagerelief. Thereis aiso additional counseling or
              savings customer, you can easily transfer funds from your Fifth Third                          assistance available through the U.S. Department of Housing and
              account and apply it to your morigage. Simply vislt 53.com and get                              rban Dovelopment (HUD), For a ist ofhiomeownership counselors
              started. Ifyou do not have intemnet Banking access, call us at                                 or counseling organizations in your area, go to
              800-972-3030.                                                                                  http://www.hud.gov/offices/hag/sfh/hcc/hcs.cfm or call
                                                                                                             800-569-4287.
              Mobile Banking: Make your monthly payments anytime, anywhere by                                Consumer Reporting Disputes, Requests for Information and
              using our mobile banking App. Downioad the app for iPhone@and                                   Notices bf Error: We may report information about your accountto
              Android smartohones directly from the App Store or Google Play. Or                             the consumerreporting agencies. Late payments, missed payments,
              text mobile* to 535353 and receive a link to get the app. For more                             or other defaults on your account may be reflected in your credit
              Information visit 53.com or call 800-972-3030.                                                 report. If you would like to dispute any information about these iems,
                                                                                                             or if you would liketo submit an information request or a notice of
              Send a Check: FIFTH THIRD BANK, PO BOX 630412, CINCINNATI,                                     enor, please write to us. Clearly state the specificinformation that is
              OH 45263-0412. Please make check payable to Fifth Third Bank,                                  being requested. For credit bureau disputes or notices of error, also
              National Association and be sure to include your loan number.                                  include your reason for the dispute and provide supporting
              In Person: Visit any Fifth Third banking center to make your payments                          information. Include your name, address and loan number on all
                                                                                                             written correspondence.
              in person.
                                                                                                             Send the information listed above regarding disputes, errors or
              Pay by Phone:Call an agent at 800-972-3030 to make a payment over                              requestsjfor Information to:
   20         the phone, Monday through Friday, 8 a.m. to 6 p.m. ET. There may be a
              fee for this option where legally permitted.                                                               FIFTH THIRD BANK
                                                                                                                         5050 Kingsley Drive
                                                                                                                        MD 1MOCFP
  How to Access Your Mortgage information:                                                                              Cincinnatl, OH 45263
  Go online or give us a call.
                                                                                                  2
                                                                                                             Requesti a Payoff:
             Visit Us Online: As a Fith Third customer with Interet Banking                                  Call 800 -972-3030
             access, you can view your account activity online at 53.com. Simply log
             into internet Banking, and under MY ACCOUNTS click on your
             mtortgage loan. Don have Intemet Banking access7 No probtem, give
             us a call at to get started today.
                                                                                                  2          Questions about Homeowner's Insurance:
                                                                                                             Call 855-388-9260
                                                                                                             Fax 440-424-5319
                                                                                                             Website: www.expressinsuranceinfo.com/3142240
              Give Us a Call: Customer Service Professionals are here for you
  20          Monday Ihrough Friday, 8 a.m. to 6 p.m. ET. Fifth Third's automated
              phone service is available 24 hours a day, 7 days a week. Simply call                          Questions about Real Estate Taxes:
              800-972-3030 and have your account number available to access your                             Cal 800-972-3030
              account information.

                                                                                                                Go Paperless with Electronic Statements!

                                                                                                 Would you rather receive your statements online? Log in to internet
                                                                                                 Banking today to receive your statements online. Donthave internet
                                                                                                 Banking access? No problem, give us a call at 800-972-3030 to get started
                                                                                                 today.




Fifth Third Bank, National Association. Member FDIC.   )   Equal HousingLender. Fifth Third and Fifth Third Bank are registered service markaof Fifth Third Bancorp.




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                             EXHIBIT
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                                                                                                                        MorgageLoanStarement
                                                                                                                        STATEMENT DATE:02/01/2024
                         FIFTH THIRD BANK
                                      CONTACT US: 800-972-3030
                                                                                                   ACCOUNTNUNBER
                                                                                                                                                                 INELLAS
                                                                                                                                                                                    REDAC
                                                                                                                                                                            BAYWAYSAFT304
                                      24-Hour Automated Service                                    PrppertyAddres,
                                                                                                                                                                                 EL33715
                                                                                                                                                                          RRAVERDE
                                                                                                   PAYMENT DUE DATE                                                                 03/01/2024
                                      53.com
                                      See back for additional Information.                         AMOUNT DUE                                                                   $4,644.59
                                                                                                              (It payment is received after 03/16/2024, $0 00 late feo willbe charged.)

 ACCOUNT INFORMATION                                                                               EXPLANATIONOF AMOUNTDUE
 Outstanding Pundipal salunce                                              $279,85156              rcpa                                                                                   327:84
  Escrow Balance                                                               -$272.04            Interest                                                                           $670.00
 InterestRate                                                                                      Escrow                                                                                 $641.75
                                                                                        E




 Prepayment Penalty                                                                     No         Optional Insurance                                                                      $0.00
                                                                                                   Fegular Monihlyaymen                                                                   e9,5e
                                                                                                   Late Charges                                                                            $0.00
 PAST PAYMENTS BREAKDOWN                                                                                                                                                                        f
                                                                                                   Otrerrees
 Desoription            PalLsst Month                                Pafd Yourto Dato
                                                                                                   Past Due Payments                                                                       $0.00

                                                                                                                                                        a
 Principal                                               $327.06                 $327.06                                                                                                        59
 Interest
 Escrow (Taxes & Insurance)
                                                         5670,76
                                                         $641,75
                                                                                 67076
                                                                                $641.75
                                                                                                   TOTAL
                                                                                                       AMOUNTDUE
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 Fees                                                      000                     0.00
                                                                                                                   Go Paperless with Electronic Statemeritst
 Late Charges                                             $0.00                    $0.00
 Paifial Peymentürappifeo)                                 $000                      0.00          Would you rather receive ypur statements online? Log in to oniine banking.
 Total                                               $1,639.59                $1,639.59            today to receive your statements onlino. Dont tave ontine cankrig accessr No
                                                                                                   problem, give usacall at 600-972-3030 to gef started today
 Partial Payments: Any partial payments that you make are not applied to your mortgage,
 but instead are heid in a separate unapplied funds sccount. When you pay the balance
 of the payment, the funds will then be applied to your mortgage.                                  Is Now theTime to Refinance?
 BANKRUPTCY NOTICE To the extent your original obiigation was discharged, or       is              This could be a grgaf time to refinanre and lovet your payent shorten our loan term or
 subject to an automatic stay of bankruptey under tle 11 of the Umteu states Code, or
 you have interest in the proporty as a successor ininferest. tnie statement isfor                 perhaps teke caeh out forimnportantnomeuinproverrants Formnoretnformation, please
 compliance and/or informationai purposes only anid does not constitute an attempt to              isit your local Fifth Third branch or cal 860-351-5353
 collect a debt or to (mpose personat liability for such obligation. However, Creditor
 retains rights under its secunity instrumemt, inclutding the right to fcrecose its tien.          Loanssublect to greditreviow and anproval. Fitth Thindi
                                                                                                                                                        Bank National Association, 38
 NOTICE: This stetemant is for compliance and/or informatitonal purposes only and                  Fountain Square Plare, Ciricinnatl, OH 456Z3/NM1Si 403205
 does not constitute en attempt to collect a debt.

 IRANSACTION ACTIVITY
 Transaction                  Dete
           orscriptionouo paf Rosted                       Cherges        Peyment            Prinefom            nterest                                                            Umapplied
 FCL ATTORNEY FEES                          01208/2024         $920 00            $0.00              $0.00              $0 00             S0.00                0.00         92000            $0.00
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 DOC FILINGCOST                             01/08/2024        $1.970.00           $000               S0.00              s000                                               319060            $0.007
                                         PLEASE RETURN THIS PORTION WITH YOUR CHECK PAYABLE TO FIETH THIRD BANK NATIONAL ASSOCIATION


                                       Ie
                                         3                                                    0300587144513360004000046445900004644593
                           FIFTH THIRD BANK
                           MD 1MOBAH
                           Cincinnati OH 45283-5300                                                                            Account Number


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                                                                                                                                Payment Dee Date
                                                                                                                                Amount Due
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                                                                                                                                                                           03/0172094
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                                                                                                                                                                                           5
                                                                                                                                Then pay                                            59
9W8C                       SUSAN MARANO
                           751 PINELLAS BAYWAY S APT 304
                                                                                                                                    (S0.00late fee wil te charged alter 03/16/2024)




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                           TIERRA VERDE FL 33715
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                           FIFTH THIRD BANK                                                                                                      uscrow
                           PO 8OX 630412
                           CINCINNATI OH 45263-0412                                                                         Totat amount onciosed
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      Case 8:25-cv-00232-TPB-TGW                                  Document 1-1                  Filed 01/28/25                 Page 74 of 121 PageID
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  How to Pay Your Mortgage Bill:                                                             How to Reach Us:
  Call, click, tep, mail or visit.                                                           Call or write
                                                                                                         Questions about Your Account:
             Set Up Automatic Payments: Filth Third Auto BillPayer@ Have
             your payment automatically deducted each month from any checking
             account. Enrolltoday at 800-637-2000. If the due date falls on a
                                                                                              2          Call 8009723050

             weekend or hollday, your paymont wil be deducted the busihess day                           Mortgadn Counseling and Assistanceuf yon are experlencing a
             prior to the weekend or hoilday.                                                            financie tardshipand need to speakwitn comeure, pleuse contact
                                                                                                         us at 86 601-6391, To submit a thurdstup application oniline,visit
             Make Your Payment Onifine:ff you're a Fifth Third checking or                               53.cgm/horlgageretief. There leaciroadditonalcounseting or
             savings customer, you can easily transferfunds from your Fifth Third                        assistandorevalable througn theUS Department of Housing and
             account end apply itto your imortoage. Simply vlalt 33.com and.get                          Urban Bif/elopnent 1ub) For ftst af hrameowership counselors
             started: If you do not have intemet Banking access, call us at                              or cuun eling org inizations in your anen, go lo
             800-972-3030.                                                                               htodkevwftudgovfoiices/bso/srthooncsrufmor cal
                                                                                                         800-569-4287.
             Mobile Banking Make your monthly payments anytime, anywhere ty                              Consuntir Reporting Disputes Requeste for iaformation and
             using our mobilebankingApp. Downibad he aon torPhioncand                                    oticesref erer. Warnay report intiguetonasaut gour eccount
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             information visit 53 com or call 800-972-3030                                               reporf    uvoddikeigdi               infornlonabouhesetems,
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             Send a Check: FIFTHTHIRD      BANK, PO BOX 630412, CINCINNATI,                              error. pigase wrte to us Cleanlystate the specifc infoonation that is
             OH 45263-0412. Plaase make check payable to Fifith Third Bank,                              being rectuested For credit tureau dispulesornotices of errer, also
             National Association and he sure to include your loan number.                               include your reason for thedisputoand proviie supporting
                                                                                                         intormatien: Inctude your namerelress and Toan number ion alts
             In Porson: Visil any Finth Thirdbankingcenter to make your payments                         written eorespondence.
             in person.
                                                                                                         Send the unformaticg listad above regerdingdisputes: errorsor
             Pay by Phone: Call an agent at 800-972-3030 to make a payment over                          requests or information to:
   2           e pone. Monday throgah FridayB amt o 6 pirn.,ET. There mnaybes
             fee forthis option whtere legallypermitted.                                                            FIFTHTHIRDBANK
                                                                                                                    5050 Kingstey Drive
                                                                                                                    MD 1MOCFP
  How to Access Your Mortgage information:                                                                          Cincinnatl, OH 45263
  Go online or give us a call.
                                                                                                         Requesta Payoff:
             Viait Us Online:As a Füth Third custorier with Intemet Bankt                                Call B00 972 3030
             access, you can view your account activily online al 53.com. Simply log
             in to Intemet Banking, and under MY ACCOUNTS click on your                                  Quostions about Homeowner's Insurance:
             mortgage loan - Don hava Intemer Baking abcess7 No probem. glve
             us a call at to get started today.
                                                                                                         ar as,ae a200
                                                                                                         Fax 440 /24-5319
                                                                                                         Website www.expressinsurancelnfo.com/3142240
  D          Give Us a Call: Customer Service Professionals are here for you
             Monday through Friday, 8 a.m. to B p.m. ET. Fifth Third's automated
             phone service is avallable 24 hours a day. 7 days a wesk. Simply call
             800-972-3030 and have your account number avaitable to aucess your
             account information.
                                                                                             2           Questionis about Real Estate Texes:
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Fifth Third Bank, National Association, MemberFDIC.   r Equal HousingLender, Fifh Third and Fith Third Bank are ziristarnd seivice marks cr ghithThiridBencorp




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       Case 8:25-cv-00232-TPB-TGW                              Document 1-1                Filed 01/28/25              Page 75 of 121 PageID
                                                                       81

                                                                                                           Mortgage Loan Statement
                                                                                                          STATEMENT DATE: 02/01/2024

                       FIETH THIRD BANK
                                  CONTACT US: 800-972-3030
                                  24-Hour Automated Service                                   ACCOUNT NUMBER                               REDAC
                                  53.com



  TRANSACTION ACTIVITY
                                       Date                     Payments       Principal       Interest       Escrow       Late Charges    Fees
  Transaction Description Due Date    Posted      Charges                                                                                                 Unapplied
  TITLE SEARCH                       01/08/2024       $11500           $0.00          $0.00          $0.00         $0.00           $0.00     $115.00             $0.00
  MORTGAGE PAYMENT        02/01/2024 01/16/2024         $0 00      $1,639.59        $327.06        $670:78       $641:75           $0.00          $0.00          $0.00




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/ 0240202
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MTG301
                 Fifth Third Bank, National Association. Member FDIC. rEqual Housing Lender. Fifth Third and Fifth Third Bank are registered service
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 76 of 121 PageID
                                     82




                             EXHIBIT 18
                             EXHIBIT 18
       Case 8:25-cv-00232-TPB-TGW                        Document 1-1                Filed 01/28/25               Page 77 of 121 PageID
                                                                 83

                   FIFTH THIRD BANK
                   MADISONVILLE OPERATIONS CENTER
                   MD 1MOC2N
                   CINCINNATI OH 45263

                   SUSAN MARANO
                                                                                                                     FIFTH THIRD BANK
                   751 PINELLAS BAYWAY S APT 304
                   TIERRA VERDE FL 33715-1945
                                                                           5501
                                                                                                     Date:                            July 16, REDACTED
                                                                                                     Account:                                     RED
                                                                                                     Payment:                             $1,639.59
                                                                                                     Late Charges:                            $0.00
                                                                          470                        Fees:                                $3,005.00
                                                                                                     Total due:                           $4.644.59

                                         Important Information Regarding Your Mortgage Loan

             Dear SUSAN MARANO:
            Our records show that your mortgage loan account is currently past due in the amount of $4,644-59, which
            includes any applicable late charges and fees The total amount of $4 644 59 must be paid uinmeglately
            The delinquency of your mortgage loan is a serious matter that could result inthelossofyourhome.
            Paymentican be made by visiting any Fifth Third Banking Center or by calling 888-393-1352- Additionally
            you can mail your payment in along with the bottom portion of this page to us at

                                                          Fifth Third Bank
                                                          PO.BOX630412
                                                          Cincinnati OH 45263-5300
            If you have already made this payment, please disregard this notice. Ifyou did not include latecharges with this
            payment, please add them to next month's payment.
            If you are unable to catch up with your mortgage payment, we want to offer our assistance. Depending on who
            owns your loan, resources are available to you for information on preventing foreclosure, avoiding fraud scams
            and accessing approved counseling, atno cost to you.
                 Visit 53.com\gethelp for general information or start a hardship application at 53.com/mortgagerelief.
                 Visit Freddie Mac's My Home web site at MyHome FreddieMac.com and Fannie Mae's
                 Fanniemae.com
                 Find available HUD-approved housing counselors-Call the US Department of Housing and Urban
                 Development at 800-569-4287 or visit HUD gov/counseling.
            Ifyou have any questions, please call us at 888-393-1352. Our Customer Service Professionals are
             available to assist you Monday through Friday, 8 a m to 5 p.m., ET. For information on other Fittl Thind
             products and services, stop by any of our BankingCenters or visit us online at 53.com We ll showyou how
            the things you do today can bring you closer to a bettertomorrow.




00072701000470
            Sincerety,
            Fifth Third Bank




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8501

/
60N2        BANKRUPTCY NOTICE: To the extent your original obligation was discharged, or issubject          to an automatic stay, of bankruptcy
            under Title 11 of the United States Code, this letter is for compllance and/or informational purposes only and doder not
20240717
/
            constitute an attempt to coltect a debt orto impose personal ilabiity for such obligation.However, Creditor relains rights under
            its security instrument, including the right to foreclose its ilen. Any negotiations or arrangements entered into do not constitute
            a waiver of your discharge, an attemptto collect against you personaily oran attempt to revive your personaltiabitityforthe
/FTBW       debt.

MTG103LIDN 2376                                                                                                                                           /
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            Fifth Third Bank, National Association. Member FDIC. Gr Equal Housing Lender. Fifth Third and Finth Third Bank are registered service
            marks of Fifth Third Bancorp.
                                                                                                                                                          MG
Case 8:25-cv-00232-TPB-TGW                Document 1-1   Filed 01/28/25        Page 78 of 121 PageID
                                                  84




                                                                                                LIDN 2376




0007270190047
                                                                   Mortgage Delinquent Notice

       FIFTH THIRD BANK                                   Statement Date:                 July 16, 2024
        FIFTHTHIRD BANK                                   Mortgage Loan:                        *****7144
        MADISONVILLE OPERATIONS CENTER
        MD 1MOC2N                                         Payment Due Date:                July 1, 2024
        CINCINNATI OH 45263                               Payment Due:                       $1,639.59
                                                          Late Charges:                           $0.00
        SUSAN MARANO
        751 PINELLAS BAYWAY S APT 304                      Fees:                             $3,005.00
        TIERRA VERDE FL 33715-1945                        Total Payment Due:                 $4,644.59

                                                           Amount Enclosed: $
         030058714400004644598
        Fifth Third Bank                                  PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
        P O BOX 630412
        Cincinnati OH 45263-5300




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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 79 of 121 PageID
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                             EXHIBIT
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Case 8:25-cv-00232-TPB-TGW               Document 1-1           Filed 01/28/25             Page 80 of 121 PageID
                                                 86




      Susan Marano
                                                10   /u            2023

      751 Pinellas Bayway South, Unit 304
      Tierra Verde, FL 33715
      SSN:
      DOB,

      TransUnion Consumer Solutions
      P.O. Box 2000
      Chester, PA 19016

      Dear Sir of Madam:

              I am writingto dispute the followinginformation in my credit report. Ihave enclosed a copy of
      the pertinent pages of the report for your review.
               The report contains my Fifth Third Bank, N.A. ('Fifth Third") mortgageaccount Iterronepusly
      states that my mortgage was 90 Days PastDue in Jamuary, 2023, and February, 2023. It aiso states that
      my mortgage was *120 Days Past Due* in March,2023, and "120 Days Past Due*inApril, 2023.
              This reporting is inaccurate. In October and November of 2022, I applied for *Homeowners
      Assistance with my lender, Fifth Third. I was led to believe, by Fifth Third, that I was in d forbearance
                                                                     I
      and that mortgage payments weren 'tnecessary. Monthslater, was informed by Fifth Third that Fifth
      Third had placedmy mortgage on aFEMA disaster hold and not a fotbearance, as FifthThirdhadtoldme.
      Nevertheless,I was repeatedly informed by Fifth Third that my account was "protected * Treliedion Fifth
      Third's representations and didn't make payments during those monthsunder the belief that no negative
      reporting would take place.

              As a result of this erroneous item being listed on my report my credithasbeen damaged.

             The inaccurate reporting of a balance which I do not owe has already negatively affectedmy credit
      worthiness.

              Please reinvestigate this matter and delete this item as soon as possible.




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     Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 81 of 121 PageID
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                                      SUSAN MARANO




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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 83 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 84 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 85 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 86 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 87 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 88 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 89 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW                                                                           Document 1-1                 Filed 01/28/25                       Page 90 of 121 PageID
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                                                                                                                                                                                      (941) 961-3430
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 91 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 92 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW                                                      Document 1-1                                     Filed 01/28/25      Page 93 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW       Document 1-1   Filed 01/28/25   Page 94 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 95 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25       Page 96 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW                                    Document 1-1       Filed 01/28/25              Page 97 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 98 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 99 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW                  Document 1-1                             Filed 01/28/25                     Page 100 of 121 PageID
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                             EXHIBIT 20
                             EXHIBIT 20
Case 8:25-cv-00232-TPB-TGW                Document 1-1            Filed 01/28/25           Page 102 of 121 PageID
                                                  108




      Susan Marano
      751 Pinellas Bayway South, Unit 304
                                             0l                     2023



            Verde, EL 33715
      REDACTED
      SSNREDACTE
      DOB:L/11/1964
      Experian
      P.O. Box 9701
      Allen, TX 75013

      Dear Sir of Madam:
              I am writingto dispute the followinginfomation in my creditreport. Ihave enclosed a copy of
      the pertinent pages of the report for your review.
               The report containsmy Fifth Third Bank, N.A. ("Fifth Third") mortgage account. It erroneously
      states that my mortgage was '90 Days Past Due“ in Ianuary, 2023, and February, 2023. It also states fhat
      my mortgage was °150 Days Past Due' in March, 2023, and 41 80 Days Past Duel in April, 2023.

              This reporting is inaccurate. In October and November of 2022, I applied for *Homeowners
      Assistance“ with my lender,Fifth Third. I was led to believe, by Fifth Third, thatIwas in a forbearance
      and that mortgage payments weren't necessary. Months later, I was informed by Fifth Third that Fifth
      mhird had placed my morrgage on aFEMA disaster hofd art not a foibearance, as Fifth Thir hadtottme.
      Nevertheless, Iwas repeatedly informed by Fifth Third that my account was protected," Irelied on Fifthu
      Third's representations and didn't make paymentsduring those months under the belief that no negative
      reporting would take place.

              As a result of this erroneous item being listed on my report my credit has been damaged.

              The inaccurate reporting of a balance which I do not owe has already negatively affected my credit
      worthiness.

              Please reinvestigate this matter and delete this item as soon as possible.




      Sè
                 Ün
             Marano
Case 8:25-cv-00232-TPB-TGW   Document 1-1   Filed 01/28/25   Page 103 of 121 PageID
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Case 8:25-cv-00232-TPB-TGW                               Document 1-1               Filed 01/28/25            Page 104 of 121 PageID
                                                                 110
 10/10/23, 4:10 PM                                                       AnnualCredit Report - Experian

                                                                                                                           Prepared For

                                                                                                               SUSAN MARANO
                                                                                                              Personal & Confidential
                                                                                                          Date Generated Oct 10, 2023
                                                                                                          ReportNumber 1413-3379-27
                           .6
              At a
              Glance                    30 Accounts                   0 Public Records                        9 Hard Inquiries

              Personal information
                     9 Names              31 Addresses           4 SSN Varlations           4 Employers         5 Other Records

              Because your personal information is reported by you, your creditors, and other sources, it's typical to
              see small variations in reported personal information, like names and addresses. For security
              reasons, many of these items canit be disputed online, but don't worry-they don't affect your credit
              score.


              Names

                  SUSAN MARANO                       SUSAN   M                   SMARANO                       SUSAN
                  Name ID #2680                      MARANO                                                    ELIZABETH
                                                                                 Name ID #8223
                                                     Name ID #6295                                             MARANO

                                                                                                               Name ID #30777


                  SUSAN C                            SUSAN MARY                  SUSAN E                       SUE
                  MARANO                             REGENSBURGER                MARANO                        REGENSBURGER
                  Name ID #23653                     Name ID #19320              NameID #27482                 Name ID #1088


                  SUSAN MORANO

                  Name ID #30944




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             Addresses

                751 PINELLAS                        751 PINELLAS              751 PINELLAS              6077 BAHIA DEL
                 BAYWAY S                           BAYWAY S                  BAYWAY S #S               MAR BLVD APTZ2
                APT304                              TIERRA VERDEFL            TIERRA VERDEFL            SAINT
                TIERRA VERDEFL                      38715-1971                33715-1971                PETERSBURG RL,
                 33715-1945                                                                             33715-3319
                                                    Address ID                Address ID
                Address ID                          #0076020893               #0270940987               Address ID
                #0076020702                         Multifamily               Apartment                 #0387602009
                Apartment                                                     complex                   Apartment
                complex                                                                                 complex


                2580                                6077 BAHIA DEL            404 MADERRACR             733 BOCA CIEGA
                ARBORETUM CIR                       MAR BIVD                  TIERRA VERDEFL,           ISLEDR
                APT21                               APT224                    33715-1990                ST PETE BEACH
                SARASOTA  FL                        SAINT                                               FL, 33706-2535
                                                                              Address ID
                34232-4325                          PETERSBURG FL,
                                                                              #0306676658               Address ID
                Address ID                          33715-1092
                                                                              Single family             #0075846382
                #0077430131                         Address ID                                          Single family
                Single family                       #0076017963
                                                    Apartment
                                                    complex


                2604 BOTANY                         357 BELLE VISTA           2336 GOLDENROD            2580
                AVE                                 DRE                       ST                        ARBORETUM CIR
                SARASOTARL                          SAINT                     SARASOTAF                 SARASUTA RL,
                34239-4903                          PETERSBURGFL              34239-5319                34232-4325
                Address ID                          33706                     Address ID                Address ID
                #0077507193                         Address ID                #0077508047               #0077430130
                Single family                       #0787374116               Single family             Single family
                                                    Single family


                2229                                2229                      4781 WOODWARD             4871 WOOD
                BOUGAINVILLEA                       BOUGAINVILLEA             PL                        WARD PL
                ST #2                               ST                        SARASOTAF                 SARASOTA RL,
                SARASOTA FL                         SARASOTA RL               34233-1822                34233
                34239-5314                          34239-5314
                                                                              Address ID                AddressID
                Address ID                          Address ID                #0300955700               #0618286961
                #0697568124                         #0077508009               Single family             Single family
                Single family                       Single family


                7822 CREST                          20 CARMEL CT              828 MAIN ST               555 STATE ROUTE
                HAMMOCK WAY                         OLD BRIDGE NJ,            BELLEVILLE NJ,            18 STE283
                SARASOTAFL                          08857-3063                07109-3459                EAST
                34240-8248                                                                              BRUNSWICK NJ.,
                                                    Address ID                Address ID
                Address ID                          #0017397759               #0012181499               08816-3727
                #0577204535                         Single family             Multifamily               Address ID
                Single family                                                                           #0225160680
                     com/acu/printReportitype-CDI                                                                         2/69
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                                                                                                            Multifamily


                   555 STATE ROUTE                     751 PINELLAS               6077 BAHIA DEL            6077 BAHIA DEL
                   18                                  BAYWAY S #WA               MAR BIVD                  MAR BLVD
                   EAST                                SAINT                      SAINT                     APT2262
                   BRUNSWICK NJ,                       PETERSBURGFL,              PETERSBURGR,              TIERRA VERDE FL,
                   08816-3727                          33715-1971                 33715-3319                33715-3919
                   Address ID                          Address ID                 Address ID                Address ID
                   #0017146366                         #0309131713                #0076022543               #0926945717
                   Multifamily                         Apartment                  Multifamily               Apartment
                                                       complex                                              complex


                   6181 MEDICICT                       926 E JERSEY ST            3336 GOLDENROD            PO BOX 48893
                   APT203                              ELIZABETH NJ,              ST                        SARASOTA R,
                   SARASOTAFL,                         07201-2729                 SARASOTA FL               34230-5893
                   34243-2614                          Address ID                 34239
                                                                                                            Address ID
                   Address ID                          #0012275510                Address ID                #0077391792
                   #0292636952                         Single family              $0747209097               Post office box
                   Apartment                                                      Single family
                   complex


                   555 STATE HWY                       5BLACKSMITH                828 MAIN ST
                   18                                  LN                        APTI
                   E BRUNSWICK NJ,                     MILLSTONE                 BELLEVILLE N.J,
                   08816                               TOWNSHIP NJ,               07109-3449
                   Address ID                          08510-8752                Address ID
                   #0425271334                         Address ID                #0012181449
                   Single family                       #0409213114               Apartment
                                                       Single family             complex




               Social Security Numbers


                   XX-X                                XXX-XX                    XXX-XX                     X0X-X0
                   1953                                5695                      1113                       2339




               Year of Birth



               1964



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              Phone Numbers


                  (305) 940-9991                               (727) 539-9471                              (727) 539-9672
                  Residential                                  Cellular                                    Cellular




              Spouse or Co-Applicant

                  ROSARIO




              Employers


                  TAMPA OUT                          RETIRED                         OAKS FAMTLY                      DR JEFFREY SACK
                  PATIENTSURGERI                                                     PRACTICE




              Accounts
              Includes credit cards, real estate loans and installment loans. This information is reported to the
              credit bureaus from your creditors.


              ACHIEVA CREDIT UNION


                       Account info
                       AccountName                                              ACHIEVA CREDIT UNION

                       Account Number                                           REDACT
                       Account Type                                             Anto Loen

                       Responsibllity                                           Individasl
                       Date Cpened                                              10/13/2020
                       Status                                                   Paid, Closad/Naver iate.
                       Status Updated                                           June 2022
                       Balance                                                  ap



                       Balance Updated                                          �




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                2019       CLS
                2018        30                       3I                                                                   %I
                2017

                       Current / Terms met           30 Past due 30 days
                CLS Closed
               Payment history gulde
               30 days past due as of Jan 2018



               3       Contact Info
                       Address                                                   PO BOX 96825,
                                                                                 LAS VEGAS NV 89193

                       Phone Number                                              C770    25-1243




                       Comment

                       Current:

                       Account closed at consumer's request.



                       Previous:

                       None




                  FIFTH THIRD BANK NA
                     POTENTIALLY NEGATIVE




                 E
                       Account Info
                       Account Name                                              FFTH THIRD BANK NA

                       Account Number                                            RREDA
                       Account Type                                              Mortgage
                       Responsibility                                            Inditviduad

                       Date Opened                                               01/19/2021
                       Status                                                    Open. $18,773 past due as of Ang 2023.
                       Status Updated                                           Apr 2023

                       Belance                                                  $282,106
                       Balance Updated                                          08/31/2023
                       Recent Payment                                           $2,086 as of 8/15/2023

                       Monthly Payment                                          $1,721
                       Original Balance                                         $280,000
                       Highest Balence
 bttpe://usa.experian.com/acuiprintReport?typesCDI                                                                                  S
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                        Terms                                                     30 Vears

                        Mortgage Agency Name                                      Frecdle MacID




                e       Payment History


                                   F           M         A       M          J         J           A          S     O         N   D
              2023         90       90       150        180     ND        ND        180        180
              2022                                                                                           ND    ND    ND      ND
              2021                                                                                                               G




                       Current / Terms met          90 Past due 90 days
              150 Past due 150 days                 180 Past due 180 days
                       No date for this
               ND
                       period
             Payment history guide
             180 days past due as of Aug 2023, Jul 2023, Apr 2023
             150 days past due as of Mar 2023
             90 days past due as of Feb 2023, Jan 2023


             By May 2029, this account is scheduled to go to a positive status.



                       Balance Histories

                          Date                 Balance           Scheduled Payment                     Pald

                          Jun 2023             $281,219          $1,762                                $1,721 on 6/20/2023

                          May 2023             $284,629          $1,762                                $0 on 10/21/2022

                         Jan 2023              $274,663          $2,085                                $0 on 10/21/2022

                          Dec 2022             $273,037          $0                                    $0 on 10/21/2022
                                                                                                       $0
                          Nov 2022             $270,821          $0                                          on 10/21/2022

                         Oct 2022              $269,897          $0                                    $2,143 on 10/21/2022

                         Sep 2022              $270,469          $0
                                                                                                       $2,085 on 9/12/2022

                         Aug 2022              $270,982          $2,085                                $2,085 on 8/11/2022

                         Jul 2022              $271,493          $2,085                                $2,941 on 7/26/2022


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                         Date                   Balance           Scheduled Payment                     Pald

                         Jun 2022               $272,003          $2,085                                $2,085 on 6/2/2022

                         May 2022               $Z72,512          $2,085                                $0 on 4/29/2022

                         Apr 2022               $272,512          $2,085                                $8,341 on 4/29/2022

                         Jan 2022               $274,535          $1,436                                $0 on 12/31/2021
                         Dec 2021               $274,535          $1,436                                $2,872 on 12/31/2021

                         Nov 2021               $275,539          $1,436                                $1,436 on 11/3/2021

                         Oct 2021               $276,039          $1,436                                $1,436 on 10/4/2021

                      Additional info
                      The original amount of this account was $280,000



                      Contact info
                      Address                                                       5050 IINGSLEY DR,
                                                                                            OH 45227
                                                                                    CINCODNATI
                      Phone Number                                                  0001 222-2022



                      Comment

                      Current:

                      Paying under e pertial payment agreement.



                      Previous:

                      Paylng under apertisi payment agresment.

                      May 2023 to Jun REDCTED

                      Account information disputed by consumer (Mosts requirement
                      of the Falr Credit Reperting Act).

                      May 2023

                      Affscted by nsturdl or dectared disaster.

                      Sep 2022 to Dec 2022
                      Payment Deferred.

                      Sep2022 to Dec 2022




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                             EXHIBIT
                             EXHIBIT 21
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                                               011 f                2023

      Susan Marano
      751 Pinellas Bayway South, Unit 304
      Tierra Verde, HL 33715
      SSN:117-5
      DOB:(1/11/196

      Equifax Information Services LLC
      P.O. Box 740241
      Atlanta, GA 30374

      Dear Sir of Madam:
              Iam writing to dispute the following information in my creditreport. I have enclosed a copy of
      the pertinent pages of the report for your review.
               Thereport containsmy Fifth Third BanIN A.(' Fifth Third") mortgage account. Icerroncously
      states that my mortgage was “90 Days Past Due: in Janary, 2023, and February, 2023: Italso states that
      my mortgage was "150 Days Past Due in March, 2023, and *180 Days Past Due“ in April, 2023.
              This reporting is inaccurate. In October and November of 2022, I applied for Homeowners
      Assistance" with my lender, Fifth Third. I was led to believe, by Fifth Third, that I was in a forbearance
      and that mortgage payments weren t uecessary; Monthis later, I was informed by Fifth Third that Fifth
      Thirdhad placed my mortgage on a FEMA disaster hold and not a forbearance, as Fifth Third had toki me.
      Nevertheless, I was repeatedly informedby Fifth Third thatmy accountwas protected Irelied on Fifth
      Third's representations and didn'tmake paymentsduring those moriths under the belief that no negative
      reporting would take place.

              As a result of this erroneous item being listed on my report my credit has beendamaged.

             The inaccurate reporting of a balance which I donot owe has already negatively affected my credit
      worthiness.

              Please reinvestigate this matter and delete this item as soon as possible.

      Sincere.

      Sussh
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                   "
                   "Ex.




   Eqwmx
   EQUIFAX
   CREDIT REPORT
   CREDIT REPORT


   SUSAN HARANO
   SUSAN MARANO

   Report
   Report Confirmation
          Conﬁrmauon

   3783809950
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    EGUIFAX
   Dear SUSAN MARANO:
   Thank you for requesting your Equifax credit report. Your credit report contains information received primarily from companies which
   have granted you credit. Great care has been taken to report thisinformation correctly. Ploase hetp usin achleving even greater
   accuracy by reviewing all of the enclosed material carefully.
   If there are items you belleve to be incorrect, you may
               Initiate an investigation request viathe internet 24 hours a day, 7 days a week at:
                     httpe://wrww.equifax.com/personal/fcredit report services/tredit-dispute/
               Please mail the dispute information to:
                    Equifax Information Services LLC
                    P.O. Bax 740241
                    Atlanta, GA 30374
               Call us at 866-349-5186
   Please note, when you provide documents, including a letter, to Equifax as part of your dispute, the documents may be submitted to one
   or more companies whose information are the subject of your dispute.
   You have the right to request and obtain a copy of your credit score. To obtain a copy of yourcreditscore, please call our automated
   ordering system at: 1-677-SCORE-11.




           X                                               SUSAN MARANO I OCt 10, 2023                                        Page2 of 103
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   1. Summary

   Review this summary for     a quick view of key information contained in your Equifax Credit Report.
   Report Date                                                Oct 10, 2023
   Credit File Status                                         No fraud indicator on file

   Alert Contacts                                             0 Records Found

   Average Account Age                                        4 Years, 5Months

   Length of Credit History                                   27 Years. 1 Month

   Accounts with Negative Information                         3
   Oldest Account                                             SYNCE/ORD & TAYLOR(Opened Sep 01, 1998)

   Most Recent Account                                        ACHIEVA CREDIT UNION (Opened Mar 03, 2023)



   Credit Accounts
   Your creditreport includes information about activity on your credit accounts thatmay affect your credit score and rating.

   AccountType          Open     With Balance      Total Balance          Available            CreditLimit   Debt-fe-Credit   Payment

   Revolving            15       7                 $16,920              $13,380                $30,300       560%

   Mortgage             1        1                 $283,545             -$3,545                $280,000      101.0%           $2,085
   installment                                     2                    $5035                  $34 306       50%
   Other

   Total                17       9                 $329,736             $14,870                $344,606      56.0%            $3,009


   Other items
   Your credit report includes your Personal Information and, ifapplicable, Consumer Statements, and could include otheritems that may
   affect your credit score and rating.

   Consumer Statements                                                                                                          StatementsFound

   Personal Information                                                                                                           17 Items Found
   Inquiries                                                                                                                    3 inquires Found

   Most Recent Inquiry                                        CITIBANK NA Oct 07, 2023

   Public Records                                                                                                               0 Records Found

   Collections                                                                                                                     ections Found




   EqUIFAX                                                   SUSAN MARANO I Oct 10, 2023                                           Page 3 of 103
      Summary                                                      Othr           Stattement                                   (ds) Collectio:




                                                                                                   s
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   3. Mortgage Accounts
   Mortgage accounts are real estate loans that require payment on a monthly basis unti the loan is paid off.

   3.1 FIFTH THIRD BANK, N.A.

   Summary

   Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
   calculated by dividing an account's reported balance by its credit limit.
   Account Number                                       RE
                                                             REDA           Reported Balance                                        $283,545

   Account Status                       OVER_120_DAYS_PAST_DUE              Available Credit


   Account History
                               3
   The tables below show up to years of the monthly balance, available credit, scheduled payment, date of last payment, high credit,
   credit limit, amount past due, activity designator, and comments.

   Balance
                                                                              Juf
    ear       Jan      Feb        Mar        Apr        May        Jdun                  Aug        Sep         Oct       Nov         Dee

   2021

   2022                                                                                          $270,469 $284 829
   2023                                                         $282,534              $283,545

   Available Credit
   Year       Jan      Feb        Mar        Apr       May         Jun        Jul        Aug        Sep         Oct       Növ         Dec

   2021

   2022

   2023

   Scheduled Payment
   Year       Jan      Fab        Mar        Apr       May         Jun        Jul        Aug        Sep         Oct       Nov         Ded

   2021

   2022                                                                                           $1,762
   2023                                                          $1,721                $2,085

   Actual Payment




   EQUIFAX                                               SUSAN MARANO I Oct 10, 2023                                            Page 71 of 103
          r                                                                   BeR                                                Collections
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                                                           124




    ear      Jan     Feb        Mar       Apr             May           Jun          Jul         Aug     Sep       Oct     Nov         Dec
   2021
                                                                                                        $2,085
   2022
   2023


   High Credit
    Year     Jan     Feb       Mar        Apr             May       Jun              Jul         Aug     Sep       Oct     Nov         Dec
   2021

   2022                                                                                                $280,000 $280,000

   2023                                                           $280,000                  $280,000

   Credit Limit
   Year      Jan     Feb       Mar           a
                                                                                                 aug     Sep       Oct     Noy         Dee

   2021

   2022
   2023

   Amount Past Due
   Year      Jan     Feb       Mar        Apr             May       Jun              Jul         Aug     Sep       Oct     Nov         Dec

   2021

   2022                                                                                                $15,338

   2023                                                           $19,018                    $18,773

   Activity Designator
   Year      Jan     Feb       Mar        Apr             May           Jun          Juf         Aug     Sep       Oct     Nov          Dec
   2021

   2022

   2023

   Comments 1
   Date                     Comment

   09/2022                  Freddie mac account

   10/2022                  Freddie mac account




   EQUIFAX
     Sumruery      okolin      Mortgage     Ih   falmen
                                                           SUSAN MARANO
                                                                Othor
                                                                              |   Oct 10, 2023
                                                                              Statoments     Porsonä
                                                                                                                                 Page 72 of 103
                                                                                                                                   Collectonts
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   Date                               Comment

   06/2023                            Freddie mac account

   08/2023                            Paying under a partial payment agreement


   Comments 2
   Date                               Comment

   09/2022                            Affected by natural disaster

   10/2022                            Paying under a partial payment agreement

   06/2023                            Paying under a partial payment agreement

   08/2023                            180 days or more past due

   Comments 3
   Date                               Comment

   09/2022                            180 days or more past due

   06/2023                            180 days or more past due


   Payment History

   View up to 7 years of monthly payment history on this account. The numbers indicated in each month represent the number of days a
   payment was past due; the letters indicate other account events, such as bankruptcy or collections.
                  ear                     an         Feb     Mar        Apr       May       dun       Juf      Aug        Sep     Oct     Nov       Dee
                 2023                    90          90      150        180                          180

                 2022

                 2021                    TN                               4


          Paid on Time                 30 30 Days Past Due             60 60 Days Past Due          90 90 Days Past Due         120 120 Days Past Due

   150 150 Days Past Due              180 180 Days Past Due            V Voluntary Surrender        F Foreclosure               C Collection Account

   CO Charge-Off                       B Included in Bankruptcy        R Repossession               TN. Too New to Rate            No Data Avallable


   Account Details

   View detailed information about this account. Contact the creditor or lenderif you have any questions about it.

   High Credit                                                        $280,000           Owner                                                   DIVIDUAL

   Credit Limit                                                                          Account Type                                        MORTGAGE

   Terms Frequency                                                    MONTHLY             Term Duration                                                     9




   EQUIFAX                                                            SUSAN MARANO1 Oct 10, 2023                                             Page 73 of 103
      Summogr            Revotvzing       Mortgage         tollment       Diner         Statorent    Poroha:                                    Cottectio
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   Balance                                             $283,545      Date Opened                               Jan 19, 2021
   Amount PastDue                                                                                                      2
                  t

   Actual Payment Amount                                             Date of Last Payment                         Aug 2023

   Date of Last Activity                                                  cduled PaymentAmcu                         82.085

   Months Reviewed                                           27      Delinquency First Reported

   Actilvity Designator                                                                                         UNKNOWN

   Deferred Payment Start Date                                       Charge OffAmount
   Balloon Payment Date                                                         men
   Loan Type                            Conventional Real Estate     Date Closed
                                                      Mortgage

   Date of Firat Delinquency                          Dec.2022

   Comments                                                                   Contact
   Paying under a partial payment agreement                                   FIFTH THIRD BANK, N.A.
   180 days or more past due                                                  5050 KINGSLEY DRIVE MD 1MOCFP
                                                                              CINCINNATI, OH 45263
                                                                              1-800-972-3030




   ELUMAX                                            SUSAN MARANO I Oct 10, 2023                              Page 74 of 103
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                  Signature
                    Signature
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                    Adult
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